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        United States Court of Appeals
             for the Fifth Circuit                                United States Court of Appeals
                                                                           Fifth Circuit

                           ____________                                  FILED
                                                                     May 23, 2025
                            No. 23-50224                            Lyle W. Cayce
                           ____________                                  Clerk

Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,

                                                      Plaintiffs—Appellees,

                                 versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:22-CV-424
              ______________________________

Before Elrod, Chief Judge, and Jones, Smith, Wiener, Stewart,
Southwick, Haynes, Graves, Higginson, Willett, Ho,
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Duncan, Engelhardt, Oldham, Wilson, Douglas, and
Ramirez, Circuit Judges.
Stuart Kyle Duncan, Circuit Judge:†
                               INTRODUCTION
       We consider whether someone may challenge a public library’s
removal of books as violating the Free Speech Clause.
       Patrons of a county library in Texas sued the librarian and other
officials, alleging they removed 17 books because of their treatment of racial
and sexual themes. The district court ruled that defendants abridged
plaintiffs’ “right to receive information” under the Free Speech Clause and
ordered the books returned to the shelves. On appeal, a divided panel of our
court affirmed in part. We granted en banc rehearing.
       We now reverse the preliminary injunction and render judgment
dismissing the Free Speech claims. We do so for two separate reasons.
       First, plaintiffs cannot invoke a right to receive information to
challenge a library’s removal of books. Yes, Supreme Court precedent
sometimes protects one’s right to receive someone else’s speech. But
plaintiffs would transform that precedent into a brave new right to receive
information from the government in the form of taxpayer-funded library
books. The First Amendment acknowledges no such right.
       That is a relief, because trying to apply it would be a nightmare. How
would judges decide when removing a book is forbidden? No one in this

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           Judge Richman was recused and did not participate in the decision.
       †
         Ten judges join Parts I–III of this opinion and the judgment (Chief Judge
Elrod and Judges Jones, Smith, Haynes, Willett, Ho, Duncan,
Engelhardt, Oldham, and Wilson). Seven of those judges join the opinion in full
(Judge Jones, Smith, Willett, Ho, Duncan, Engelhardt, and Oldham).




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case—not plaintiffs, nor the district court, nor the panel—can agree on a
standard. May a library remove a book because it dislikes its ideas? Because
it finds the book vulgar? Sexist? Inaccurate? Outdated? Poorly written?
Heaven knows. The panel majority itself disagreed over whether half of the
17 books could be removed. For their part, plaintiffs took the baffling view
that libraries cannot even remove books that espouse racism.
       The only sensible course—and, happily, the one supported by reams
of precedent—is to hold that the right to receive information does not apply
here. A plaintiff may not invoke that right to challenge a library’s decisions
about which books to buy, which books to keep, or which books to remove.
       True, one of our decisions—Campbell v. St. Tammany Parish School
Board, 64 F.3d 184 (5th Cir. 1995)—suggested students could challenge the
removal of a book from public school libraries. But Campbell was based on a
mistaken reading of precedent and, since decided, has played no role in
similar controversies in our circuit. We therefore overrule Campbell.
       Second, a library’s collection decisions are government speech and
therefore not subject to Free Speech challenge. Many precedents teach that
someone engages in expressive activity by curating and presenting a
collection of third-party speech. People do this all the time. Think of the
editors of a poetry compilation choosing among poems, or a newspaper
choosing which editorials to run, or a television station choosing which
programs to air. So do governments. Think of a city museum selecting which
paintings or sculptures to feature in an exhibit.
       In the same way, a library expresses itself by deciding how to shape its
collection. As one court put it: “With respect to the public library, the
government speaks through its selection of which books to put on the shelves
and which books to exclude.” People for the Ethical Treatment of Animals v.




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Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005) [“PETA”]. What the library is
saying is: “We think these books are worth reading.”
       On this point, we note an error that bedeviled our sister circuit. See
GLBT Youth in Iowa Schools Task Force v. Reynolds, 114 F.4th 660, 668 (8th
Cir. 2024). Contrary to its view, a library does not speak through the words
of the books themselves. “Those who check out a Tolstoy or Dickens novel
would not suppose that they will be reading a government message.” PETA,
414 F.3d at 28. The library is not babbling incoherently in the voices of
Captain Ahab, Hester Prynne, Odysseus, Raskolnikov, and Ignatius J. Reilly.
Rather, the library speaks by selecting some books over others and presenting
that collection to the public—just as a museum does when it curates a
collection of various schools of art. No one thinks the museum is
contradicting itself by featuring both Rembrandt and Andy Warhol.
       This conclusion gains strength when we consider the history of public
libraries. From the moment they emerged in the mid-19th century, public
libraries have shaped their collections to present what they held to be
worthwhile literature. What is considered worthwhile, of course, evolves
over the years. Public libraries used to exclude most novels, which were
thought bad for morals. Today a library would not think of excluding Fifty
Shades of Grey. But what has not changed is the fact, as true today as it was in
1850, that libraries curate their collections for expressive purposes. Their
collection decisions are therefore government speech.
       Finally, we note with amusement (and some dismay) the unusually
over-caffeinated arguments made in this case. Judging from the rhetoric in
the briefs, one would think Llano County had planned to stage a book burning
in front of the library. Plaintiffs and amici warn of “book bans,” “pyres of
burned books,” “totalitarian regimes,” and the “Index librorum




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prohibitorum.” One amicus intones: “Where they burn books, they will
ultimately burn people.”1
        Take a deep breath, everyone. No one is banning (or burning) books.
If a disappointed patron can’t find a book in the library, he can order it online,
buy it from a bookstore, or borrow it from a friend. All Llano County has done
here is what libraries have been doing for two centuries: decide which books
they want in their collections. That is what it means to be a library—to make
judgments about which books are worth reading and which are not, which
ideas belong on the shelves and which do not.
        If you doubt that, next time you visit the library ask the librarian to
direct you to the Holocaust Denial Section.
                                            ***
        We REVERSE the preliminary injunction, RENDER judgment
dismissing plaintiffs’ Free Speech claims, and REMAND for further
proceedings consistent with this opinion.




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          See Suppl. Brief of Appellees (referring throughout to the 17 “Banned Books”);
Brief for Freedom to Read Found. et al. as Amicus Curiae at 5 (“pyres of burned books
kindling the rise of early twentieth-century totalitarian regimes”); Brief for Found. for
Individual Rts. and Expression as Amicus Curiae at 9–11 (“The Burning of the Books and
the Burying of the Philosophers,” Diocletian’s “public burning of Christian writings,”
Pope Paul VI’s “Index librorum prohibitorum,” and Heine’s “Where they burn books, they
will ultimately burn people”); Brief for Texas Freedom to Read Project as Amicus Curiae
at 7 (“Book bans have devastated Texas libraries.”). The dissenting opinion joins in this
unfortunate rhetoric. See Dissent at 30 (accusing us of “sanction[ing] government
censorship in every section of every public library in our circuit”); id. at 37 (suggesting we
have “join[ed] the book burners” (citation and internal quotation marks omitted)).




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                                I. BACKGROUND
        A. Facts and Proceedings
        Plaintiffs are seven patrons of the Llano County library. Llano County
lies about 80 miles northwest of Austin with a population of just over 21,000.
Its library system has three branches, located in Llano (the county seat),
Kingsland, and Buchanan Dam. The current library director is Amber
Milum. See Tex. Loc. Gov’t Code § 323.005(a) (“If a county library is
established, the commissioners court shall employ a county librarian.”).
Among other duties, the librarian “shall determine which books and library
equipment will be purchased.” Id. § 323.005(c). The library is supervised by
the county commissioners court and the state librarian. Id. § 323.006.
        In April 2022, plaintiffs sued Milum, the commissioners court,
County Judge Ron Cunningham, and the library board (“defendants”) in
federal court. They alleged defendants removed certain library books because
of objections to their treatment of sexual or racial themes. Plaintiffs tried to
check out the books but were unable to do so. They claimed a violation of
their “First Amendment rights to access and receive information and
ideas.”2
        Following discovery, defendants moved to dismiss based on standing,
mootness, and failure to state a claim. Plaintiffs moved for a preliminary
injunction based on their First Amendment claims. In October 2022, the
district court held a two-day hearing with testimony from seven witnesses.
        The testimony focused on 17 books removed from the Llano branch.
Seven of them—which the parties call the “Butt and Fart Books”—are a

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           Plaintiffs also alleged a Fourteenth Amendment due process claim. That claim is
not at issue because the district court did not rely on it to grant a preliminary injunction.




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series of children’s books with titles like: I Broke My Butt! and Larry the
Farting Leprechaun. Another book is the well-known children’s story In the
Night Kitchen by Maurice Sendak, which contains drawings of a naked
toddler. Another is a sex-education book for pre-teens, It’s Perfectly Normal,
which has cartoon depictions of sexual activity. Three are young-adult books
touching on sexuality and homosexuality (Spinning, Shine, Gabi: A Girl in
Pieces). Two portray gender dysphoric children and teenagers (Being Jazz
and Freakboy). Two others discuss the history of racism in the United States
(Caste and They Called Themselves the K.K.K.).3
        Defendants generally testified that the books were removed, not
because of disagreement with their content, but as a result of a standard
“weeding” method known as “Continuous Review, Evaluation, and
Weeding” or “CREW.” Under this approach, books are evaluated
according to the so-called “MUSTIE” factors: Misleading, Ugly,
Superseded, Trivial, Irrelevant, and Elsewhere. So, a book might be removed
because it was inaccurate (“misleading”), damaged (“ugly”), outdated
(“superseded”), silly (“trivial”), seldom checked out (“irrelevant”), or
available at another branch (“elsewhere”).4

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          The full list of books is: My Butt Is So Noisy!; I Broke My Butt!; I Need a New Butt!,
all by Dawn McMillan; Larry the Farting Leprechaun; Gary the Goose and His Gas on the
Loose; Freddie the Farting Snowman; Harvey the Heart Has Too Many Farts, all by Jane
Bexley; It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by Robie
H. Harris and Michael Emberley; In the Night Kitchen by Maurice Sendak; Caste: The
Origins of Our Discontents by Isabel Wilkerson; They Called Themselves the K.K.K.: The Birth
of an American Terrorist Group by Susan Campbell Bartoletti; Being Jazz: My Life as a
(Transgender) Teen by Jazz Jennings; Freakboy by Kristin Elizabeth Clark; Shine by Lauren
Myracle; Gabi, a Girl in Pieces by Isabel Quintero; Spinning by Tillie Walden; and Under
the Moon: a Catwoman Tale by Lauren Myracle.
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           Testimony also addressed the library’s decision to stop offering e-books and
audiobooks through the “Overdrive” database. According to the library, Overdrive’s
filters could not keep children from viewing books depicting sexual activity. The library




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        For their part, plaintiffs portrayed this weeding rationale as
pretextual. They claimed Milum actually removed the books under orders
from Cunningham and the commissioners court. Cunningham and Moss,
plaintiffs asserted, were responding to complaints from the public—
spearheaded by Rochelle Wells, Rhonda Schneider, Gay Baskin, and Bonnie
Wallace—about the books at issue. They also emphasized that, after
dissolving the existing library board, the commissioners put Wells,
Schneider, Baskin, and Wallace on a new board with input into the library’s
selections.5
        B. District Court Decision
                1. Motion to Dismiss
        The district court denied defendants’ motion to dismiss the Free
Speech claims. See Little, 2023 WL 2731089, at *7–8 (W.D. Tex. Mar. 30,
2023). As a threshold matter, the court ruled that the removal of books
implicated plaintiffs’ “First Amendment right to access information.” Id. at




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removed Overdrive and replaced it with a database called “Bibliotheca.” Some of the 17
removed books may remain accessible through Bibliotheca, although the record does not
show which ones. The district court subsequently ruled that plaintiffs’ Overdrive-related
claims were moot and dismissed them without prejudice. See Little v. Llano Cty., 1:22-CV-
424-RP, 2023 WL 2731089, at *6 (W.D. Tex. Mar. 30, 2023).
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              The dissenting opinion claims this background “omits material
facts . . . concerning how and why the seventeen books at issue were removed.” Dissent at
2. Not so. The dissent merely contains more details about the public’s complaints and the
county officials’ response. But our bottom line and the dissent’s are the same: in response
to public complaints about the books, the Llano County Commissioners Court, which
oversees the library, ordered the books removed. See Dissent at 3 n.5 (recognizing “the
Llano County Commissioners Court . . . oversees the Llano County library system”).




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*7 n.4 (citing Campbell v. St. Tammany Par. Sch. Bd., 64 F.3d 184, 189 (5th
Cir. 1995)).6
       On the merits, the court held that a library violates the Free Speech
Clause when its “substantial motivation” for removing a book “was to deny
library users access to ideas with which [the government] disagreed.” Ibid.
(quoting Campbell, 64 F.3d at 190). The court acknowledged that “public
libraries should be afforded ‘broad discretion’ in their collection selection
process, in which library staff must necessarily consider books’ content.”
Ibid. (quoting United States v. Am. Library Ass’n, 539 U.S. 194, 205 (2003)
(plurality) [“ALA”]). But the court believed this discretion “applies only to
materials’ selection,” not their removal. Ibid.
       The court also rejected defendants’ argument that a library’s
collection decisions are “government speech to which the First Amendment
does not apply.” Ibid. The court thought the precedents supporting this
argument “mostly involve the initial selection, not removal, of materials.”
Ibid. See PETA, 414 F.3d at 28 (“With respect to the public library, the
government speaks through its selection of which books to put on the shelves
and which books to exclude.”).
        Finally, the court suggested that public libraries are “limited public
forums,” and that, as a result, their removal decisions are “subject to First
Amendment limitations.” See Little, 2023 WL 2731089, at *7 n.4 (citation
omitted).


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            The court also held plaintiffs had standing because they had “attempted and
failed to check out the removed books from the library.” Little, 2023 WL 2731089, at *5.
Additionally, the court ruled that the library’s “in-house checkout system”—one created
after litigation began under which the 17 books were removed from the catalog and kept
behind the counter—did not moot plaintiffs’ claims. See id. at *6.




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              2. Preliminary Injunction
       Applying these principles, the court granted a preliminary injunction
ordering the library to reshelve the 17 books. At the outset, the court
reiterated its view that “the First Amendment ‘protect[s] the [plaintiffs’]
right to receive information,’” and that the “key inquiry” concerns library
officials’ “substantial motivation in arriving at the removal decision.” Id. at
*9 (citations omitted). Based on that framework, the court ruled plaintiffs
were likely to show defendants removed the 17 books based on both
viewpoint and content discrimination.
       As to viewpoint discrimination, the court found defendants removed
the books based on complaints that they were “inappropriate,”
“pornographic filth,” and “CRT and LGBTQ books.” Id. at *9–10. As to
content discrimination, the court found the removal was “directly prompted
by complaints from patrons and county officials over the contents of these
titles.” Id. at *11. In either case, the court rejected defendants’ argument that
the removals were part of the normal “weeding” process. Id. at *10–11.
Instead, the court found defendants’ “substantial motivation” for removing
the books was “a desire to prevent access to particular views.” Id. at *12.
       Finding the remaining injunction factors met, the court entered a
preliminary injunction requiring defendants to reshelve all 17 books and
“update” library catalogs to show the books are “available for checkout.” Id.
at *14. The court also enjoined defendants “from removing any books from
the Llano County Library Service’s catalog for any reason during the
pendency of this action.” Ibid.
       Defendants appealed.




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       C. Panel Decision
       A divided panel of our court affirmed in part. See Little v. Llano Cty.,
103 F.4th 1140 (5th Cir. 2024). The majority agreed with the district court
that library patrons have the “right to receive information and ideas.” Id. at
1147 (quoting Stanley v. Georgia, 394 U.S. 557, 564 (1969)). It also agreed that
a library violates that right if a book’s removal was “‘substantially motivated’
by the desire to deny ‘access to ideas with which [the library] disagree[s].’”
Id. at 1148–49 (quoting Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26
v. Pico, 457 U.S. 853, 871 (1982) [“Pico”] (plurality)). But the majority
modified the district court’s ruling to allow a library to remove books only
“based on . . . the accuracy of the[ir] content,” id. at 1150, or “based on a
belief that the books [are] ‘pervasively vulgar’ or on grounds of ‘educational
suitability,’” id. at 1154 (quoting Campbell, 64 F.3d at 188–89). Finally, the
majority agreed that a library’s collection decisions are not government
speech. Id. at 1151–52.
       Applying that standard, Judge Wiener concluded all 17 books were
removed improperly. Id. at 1154–55. Partially concurring, Judge Southwick
concluded nine books were properly removed based on vulgarity or
educational suitability. Id. at 1158–59 (Southwick, J., concurring in part).
Accordingly, the majority modified the injunction to require reshelving only
eight of the 17 books. Ibid. Dissenting, Judge Duncan would have reversed
the district court altogether, either because a library’s curation decisions are
government speech or because removing books does not implicate any right
to receive information. Id. at 1177–86, 1168–69 (Duncan, J., dissenting).
       We granted en banc rehearing. Little v. Llano Cty., 106 F.4th 426 (5th
Cir. 2024).




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                      II. STANDARD OF REVIEW
        To obtain the “extraordinary remedy” of a preliminary injunction,
the applicant must show
        (1) a substantial likelihood of success on the merits, (2) a
        substantial threat of irreparable injury if the injunction is not
        issued, (3) that the threatened injury if the injunction is denied
        outweighs any harm that will result if the injunction is granted,
        and (4) that the grant of an injunction will not disserve the
        public interest.
Planned Parenthood of Greater Tex. v. Kauffman, 981 F.3d 347, 353 (5th Cir.
2020) (en banc) (citations omitted).
        “We review the district court’s grant of [a] preliminary injunction for
abuse of discretion, reviewing underlying factual findings for clear error and
legal conclusions de novo.” United States v. Abbott, 110 F.4th 700, 708 (5th
Cir. 2024) (en banc) (citation omitted); see 28 U.S.C. § 1292(a)(1). “When a
district court applies incorrect legal principles, it abuses its discretion.”
Kauffman, 981 F.3d at 354 (citation omitted).
                                          ***
            Embedded in the district court’s ruling are two distinct legal
questions. The first is whether a library’s removing a book implicates a
patron’s right to receive information. The second is whether a library’s
collection decisions—that is, its choices about which books to put on or
remove from the shelves—are government speech. We consider the first
question in part III and the second question in part IV.7

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          The dissenting opinion claims that, by deciding these legal questions, we
“rush[]” past the “narrow issue” of whether the preliminary injunction was an abuse of
discretion. Dissent at 10. Not so. By definition, a district court abuses its discretion by
granting a preliminary injunction based on incorrect legal principles. See Kauffman, 981




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            III. RIGHT TO RECEIVE INFORMATION
        By invoking the right to receive information, may someone challenge
a library’s decision to remove books from its shelves? Plaintiffs say “yes,” as
did the district court and the panel majority. See Little, 103 F.4th at 1147. But
if the answer is “no,” as defendants and some amici argue, then plaintiffs’
Free Speech claim fails at the outset. We tackle the question as follows.
        First (A), we survey the precedents. Second (B), we explain why the
right to receive information is not implicated by a library’s removing books
(nor by its not acquiring a book in the first place). Finally (C), we consider
our decision in Campbell, 64 F.3d 184, which applied the right to a school
library’s removing books. We overrule Campbell.
        A. Right-to-receive-information precedents
        Plaintiffs’ brief surveys the history of the right to receive information
and argues it “extends to public libraries.” Specifically, they contend patrons
can invoke the right to challenge a library’s decision to remove books. We
discuss those cases here and, in the next part, explain why plaintiffs’
argument fails.
        We start with plaintiffs’ earliest case, Martin v. City of Struthers, 319
U.S. 141 (1943). Jehovah’s Witnesses challenged a city’s prohibition on door-
to-door distribution of “handbills, circulars[,] or other advertisements.” Id.
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F.3d at 354. As explained below, the district court did precisely that, which requires
reversal. See, e.g., Atchafalaya Basinkeeper v. U.S. Army Corps of Eng’rs, 894 F.3d 692, 704
(5th Cir. 2018) (vacating preliminary injunction “because the [district] court misapplied
applicable legal principles”). The dissent also claims we fail to “identify[] any legal
principle” to support our First Amendment holding. Dissent at 10. That is quite wrong.
We identify not one but two such principles: (1) library patrons cannot rely on a “right to
receive information” to challenge a library’s collection decisions, and (2) those collection
decisions are government speech. We defend those principles at length below. See infra
Part III at 13–28; Part IV at 28–55.




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at 1412–43. Martin held the law violated the First Amendment based on a
person’s “right to distribute literature” and another’s “right to receive it.”
Id. at 143 (citation omitted). In other words, the government could not bar
someone from receiving someone else’s speech.
        The cases applying Martin follow this pattern. A court could not bar a
union organizer from delivering a speech to company employees. Thomas v.
Collins, 323 U.S. 516, 538 (1945). The government could not burden
someone’s right to receive political literature through the mail. Lamont v.
Postmaster Gen. of U.S., 381 U.S. 301, 306 (1965). A state violated a man’s
“right to receive information” by prosecuting him for privately possessing
obscene material. Stanley, 394 U.S. at 564–65. Scholars had the right to
“receive [the] information and ideas” of a foreign scholar they invited to the
United States. Kleindienst v. Mandel, 408 U.S. 753, 762–63 (1972). Sellers had
the right to propose transactions, and buyers had the right to receive them.
Va. State Pharmacy Bd. v. Va. Citizens Consumer Council, Inc., 425 U.S. 748,
756–57 (1976).8
        Each of these cases held that the First Amendment limits the
government’s power to prevent one person from receiving another’s speech.
The listeners mostly prevailed.9 In none of the cases, however, did a plaintiff
invoke a right to receive information from the government. And none
suggested that the First Amendment obligates the government to provide


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         See also Murthy v. Missouri, 603 U.S. 43, 75 (2024) (“While we have recognized a
First Amendment right to receive information, we have identified a cognizable injury only
where the listener has a concrete, specific connection to the speaker.” (citing Kleindienst,
408 U.S. at 762) (cleaned up)).
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         Not always. In Kleindienst, the scholars’ rights were trumped by Congress’s
power to exclude aliens. 408 U.S. at 765–70. And in Virginia State Pharmacy Board, the
government was given some leeway to regulate commercial speech. 425 U.S. at 770–73.




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information to anyone.10 To the contrary, those cases “only recogniz[ed] a
negative right against government interference with the exchange of
information by private citizens.” Erik Ugland, Demarcating the Right to
Gather News: A Sequential Interpretation of the First Amendment, 3 Duke J.
Const. Law & Pub. Pol’y 113, 140 (2008).11
        We turn next to the Supreme Court’s splintered decision in Pico, 457
U.S. 853, where students challenged a school board’s removing books from a
school library. Plaintiffs repeatedly cite one of the Pico opinions, joined by
three Justices, which would have found a violation of the right to receive
information. See Pico, 457 U.S. at 866–67 (op. of Brennan, J., joined by
Marshall and Stevens, JJ.). Pico does not help plaintiffs, though.
        To begin with, our en banc court ruled long ago that Pico carries no
precedential weight. See Muir v. Alabama Educ. Television Comm’n, 688 F.2d
1033, 1045 n.30 (Former 5th Cir. 1982) (en banc) (“[W]e conclude that the
Supreme Court [in Pico] decided neither the extent nor, indeed, the existence



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            Nor does Red Lion Broad. Co. v. FCC, 395 U.S. 367 (1969), which plaintiffs cite.
That case rejected a First Amendment challenge to the FCC’s “fairness doctrine,” which
required radio stations to allow someone to respond if attacked on a broadcast. See id. at
374–75. The Court held the agency could attach such a condition when allocating
frequencies, referencing “the right of the public to receive suitable access to social,
political, esthetic, moral, and other ideas.” Id. at 390. Nowhere does Red Lion suggest this
“right” requires the government itself to provide such information.
        11
           The dissenting opinion briefly notes these Supreme Court precedents without
discussing them. See Dissent at 11. It offers no rejoinder to our point that none remotely
supports someone’s right to demand information from the government, whether in the form
of library books or anything else. Instead, the dissent grounds its entire argument on the
Supreme Court’s Pico case. Dissent at 12–22. But, as we explain below, Pico was so
fractured that our court has twice held (and today reaffirms) that it lacks any precedential
force. And, in any event, a majority of the Pico Justices rejected applying the right to receive
information to a school library’s decision to remove books. See infra.




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vel non, of First Amendment implications in a school book removal case.”).12
That remains the correct reading of Pico. Not only was Pico “highly
fractured,” Chiras, 432 F.3d at 619 n.32, but “[a] majority of the justices did
not join any single opinion.” Muir, 688 F.2d at 1045 n.30. And the narrowest
opinion (Justice White’s) said nothing about the First Amendment. Ibid.13
So, we reaffirm what we held over forty years ago: “Pico is of no precedential
value as to the application of the First Amendment to these issues.” Ibid.14
        Second, putting aside Pico’s non-binding status, a majority of the
Justices rejected the idea that someone’s “right to receive information”
requires a library to shelve particular books. See Muir, 688 F.2d at 1045 n.30
(explaining a “majority” of Pico’s Justices agreed “there is no First

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           See also Chiras v. Miller, 432 F.3d 606, 619 n.32 (5th Cir. 2005) (noting Muir’s
holding that “Pico has no precedential value as to the application of First Amendment
principles to the school’s decision to remove the books from the library”).
        13
          See Pico, 457 U.S. at 883 (White, J., concurring in the judgment) (voting to affirm
only in deference to court of appeals’ fact findings but declining to join Brennan’s
“dissertation on the extent to which the First Amendment limits the discretion of the
school board to remove books from the school library”). See also Marks v. United States,
430 U.S. 188, 192–93 (1977).
        14
           The dissenting opinion minimizes that statement as “half-century-old dicta, in a
footnote.” Dissent at 15. We disagree. In Muir, our en banc court carefully parsed the Pico
opinions and “conclude[d] that the Supreme Court decided neither the extent nor, indeed,
the existence vel non . . . of First Amendment implications in a school book removal case.”
688 F.2d at 1045 n.30. Furthermore, applying the Marks rule, we identified Justice White’s
opinion as the narrowest one and concluded that it “expresses no opinion on the First
Amendment issues.” Ibid. (emphasis added). Two decades later, a panel of our court
confirmed that is a correct reading of Pico. In Chiras, we again concluded that Pico’s “highly
fractured” opinions “ha[ve] no precedential value” as to the First Amendment, 432 F.3d
at 619 n.32 (citing Muir, 688 F.2d at 1045 n.30), emphasizing Chief Justice Burger’s point
that Pico “contained no binding holding,” ibid. (citing Pico, 457 U.S. at 886 n.2) (Burger,
C.J., dissenting). The dissent gives us no reason to reconsider what we have already twice
decided about Pico’s non-precedential status. Consequently, the dissent’s accusations that
we wrongly “revisit,” “modify,” “adjust,” “discard,” and “nulli[f]y” Pico, see Dissent at
19–21, are misplaced.




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Amendment obligation upon the State to provide continuing access to
particular books”). On this point, Chief Justice Burger’s opinion was
especially forceful. “[T]he right to receive information and ideas,” he wrote,
“does not carry with it the concomitant right to have those ideas affirmatively
provided at a particular place by the government.” Pico, 457 U.S. at 888
(citing Stanley, 394 U.S. at 564) (Burger, C.J., dissenting). Three Justices
(Powell, Rehnquist, and O’Connor) joined Burger’s opinion in full, and a
fourth (Blackmun) agreed with this point.15
        Finally, plaintiffs cite two sister circuit cases applying the “right to
receive information” in the library context. See Neinast v. Bd. of Tr. of the
Columbus Metro. Libr., 346 F.3d 585, 590 (6th Cir. 2003); Kreimer v. Bureau
of Police for Town of Morristown, 958 F.2d 1242, 1247–48 (3d Cir. 1992). But
those cases addressed whether a library could evict someone from its
premises, not whether someone could demand the library put certain books on
its shelves.

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           See Pico, 457 U.S. at 878 (Blackmun, J., concurring in part and concurring in the
judgment) (“I do not suggest that the State has any affirmative obligation to provide
students with information or ideas, something that may well be associated with a ‘right to
receive.’”); id. at 895 (Powell, J., dissenting) (agreeing with Burger that a “‘right to receive
ideas’ in a school . . . . finds no support in the First Amendment precedents of this Court”);
id. at 904, 910 (Rehnquist, J., dissenting) (“agree[ing] fully” with Burger’s opinion and
rejecting “the very existence of a right to receive information” in the school setting as
“wholly unsupported by our past decisions and inconsistent with the necessarily selective
process of elementary and secondary education”); id. at 921 (O’Connor, J., dissenting)
(joining Burger’s dissent).
         The dissenting opinion fails to acknowledge that a majority of the Pico Justices
rejected extending the right to receive information to a school library’s collection. Indeed,
our court has twice read Pico that way. See Muir, 688 F.2d at 1045 n.30 (observing the four
dissenting Pico Justices “agree[d] with Justice Blackmun that there is no First Amendment
obligation upon the State to provide continuing access to particular books, thus making a
majority of Members for that view”) (citations omitted) (emphasis added); Chiras, 432 F.3d
at 619 n.32 (same). We reaffirm that correct reading of Pico today.




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       Kreimer, for instance, ruled a library could evict a menacing vagrant
whose “odor was often so offensive that it prevented the [l]ibrary patrons
from using certain areas of the [l]ibrary.” 958 F.2d at 1247, 1262–68. The
right to receive information, the court explained, “includes the right to some
level of access to a public library.” Id. at 1255 (emphasis added). Neinast
treated the right the same way. See 346 F.3d at 591 (quoting Kreimer, 958 F.2d
at 1255). Neither case suggested patrons can make a library carry the books
they want.
       B. Plaintiffs cannot invoke a right to receive information to
          challenge book removals.
       We hold that plaintiffs cannot invoke the right to receive information
to challenge the library’s removal of the challenged books.
       First, plaintiffs would stretch the right far beyond its roots. As
discussed, the above cases teach that people have some right to receive
information from others without government interference. See, e.g., Martin,
319 U.S. at 143 (“[F]reedom [of speech and press] embraces the right to
distribute literature and necessarily protects the right to receive it.”) (citing
Lovell v. Griffin, 303 U.S. 444, 452 (1938)). But plaintiffs want more. They
demand to receive information from the government itself.16
       It is one thing to tell the government it cannot stop you from receiving
a book. The First Amendment protects your right to do that. See, e.g.,
Lamont, 381 U.S. at 306 (Postal Service could not regulate receipt of
“communist political propaganda”). It is another thing for you to tell the
government which books it must keep in the library. The First Amendment
does not give you the right to demand that. See, e.g., Pico, 457 U.S. at 889

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        After all, the books they want are owned by the county. See Tex. Loc. Gov’t
Code § 323.005 (librarian “shall determine which books . . . will be purchased”).




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(Burger, C.J., dissenting) (“[T]here is not a hint in the First Amendment, or
in any holding of th[e] [Supreme] Court, of a ‘right’ to have the government
provide continuing access to certain books.”).
        Second, if people can challenge which books libraries remove, they
can challenge which books libraries buy. “[A] library just as surely denies a
patron’s right to ‘receive information’ by not purchasing a book in the first
place as it does by pulling an existing book off the shelves.” Little, 103 F.4th
at 1171 (Duncan, J., dissenting).17 For good reason, no one in this litigation
has ever defended that position.
        Suppose a patron complains that the library does not have a book she
wants. The library refuses to buy it, so she sues. Her argument writes itself:
“[I]f the First Amendment commands that certain books cannot be removed,
does it not equally require that the same books be acquired?” Pico, 457 U.S.
at 892 (Burger, C.J., dissenting).18 She would be right. This means patrons
could tell libraries not only which books to keep but also which to purchase.
Could they also sue the county to increase its library fund? See Tex. Loc.
Gov’t Code § 323.007 (establishing a “county free library fund”).
        In a footnote, plaintiffs try to distinguish book removals from
purchases. They say libraries have “a wider variety of legitimate
considerations” for not buying books, such as “cost,” and they assert
unbought books will “vastly outnumber” removed books. So what? Plaintiffs

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          See also Pico, 457 U.S. at 916 (Rehnquist, J., dissenting) (“The failure of a library
to acquire a book denies access to its contents just as effectively as does the removal of the
book from the library’s shelf.”).
        18
           See also Pico, 457 U.S. at 895 (Powell, J., dissenting) (“If a 14-year-old child may
challenge a school board’s decision to remove a book from the library, upon what theory is
a court to prevent a like challenge to a school board’s decision not to purchase that identical
book?”).




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can just as easily probe a library’s “considerations” for not buying a book as
for removing one. Did the library lack funds, or did the librarian dislike the
book’s views? That’s what discovery is for. And it is no answer to say that a
failure-to-buy case will be harder to prove than a removal case. Maybe, maybe
not. The point is that, once courts arm plaintiffs with a right to contest book
removals, there is no logical reason why they cannot contest purchases too.19
        Third, how would judges decide whether removing a book is
verboten? What standard applies? The district court asked whether the
library was “substantially motivated” to “deny library users access to ideas”
by engaging in “viewpoint or content discrimination.” Little, 2023 WL
2731089, at *7, 9–10. The panel clarified that libraries could remove books
that are “[in]accura[te],” “pervasively vulgar,” or “educational[ly]
[un]suitabl[e].” Little, 103 F.4th at 1150, 1154. On en banc, plaintiffs argued
the standard was “no viewpoint discrimination.” Applying such tests20 to
library book removals would tie courts in endless knots.



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           The dissenting opinion assures us that the “right” it would recognize is “not an
affirmative right to demand access to particular materials,” nor would it “require Llano
County either to buy and shelve” particular books. Dissent at 24. Yet the dissent offers no
reason for believing that beyond its own say-so. The dissent merely asserts that removing a
book somehow “prescribe[s] . . . orthodoxy,” while not purchasing a book does not. Id. at
24–25. But that distinction makes no sense. A library can “prescribe orthodoxy” just as
easily by refusing to buy a book as by removing it.
        20
           The dissenting opinion proposes yet another standard. Drawing from Justice
White’s Pico opinion, it would forbid officials from removing books because they find them
“inappropriate, offensive, or otherwise undesirable.” Dissent at 32. We have already
explained, however, that White’s opinion endorsed no First Amendment standard. Ante at
15–17. But putting that aside, the dissent’s standard contradicts both the now-vacated panel
majority and our Campbell decision, which the dissent purports to champion. See Dissent
at 13–15 (defending Campbell). Both the panel majority and Campbell allowed removal of
books deemed “pervasively vulgar” or “educationally unsuitable.” See Little, 103 F.4th at
1154 (quoting Campbell, 64 F.3d at 188–89). Indeed, the dissent’s absolutist view even




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        Consider one of the challenged books: It’s Perfectly Normal, a book for
“age 10 and up” that features cartoons of people having sex and
masturbating. See Little, 103 F.4th at 1183–84 & n.34 (Duncan, J.,
dissenting).21 If the library removed the book because of the pictures, as
plaintiffs claim, did it violate the First Amendment? Surely the library wanted
to “deny access” to the book’s “ideas.” So, yes. And surely the library
“discriminated” against the book’s “content.” So, yes again. But the library
also deemed the book “educationally unsuitable” for 10-year-olds. So, no.
And it likely found the book “vulgar,” but perhaps not “pervasively.” So,
maybe. No surprise, then, that the panel majority split over whether
removing It’s Perfectly Normal was permitted.22
        Or consider a hypothetical that came up at oral argument. O.A. Rec.
at 37:15–37:45. A library discovers on its shelves a racist book by a former
Klansman. See, e.g., David Duke, Jewish Supremacism: My
Awakening on the Jewish Question (2003). Can it be removed?

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contradicts Justice Brennan’s Pico opinion, which also suggested a school library could
remove “pervasively vulgar” books. See Pico, 457 U.S. at 871 (op. of Brennan, J.).
        21
            See Robie H. Harris and Michael Emberley, It’s Perfectly
Normal: Changing Bodies, Growing Up, Sex, Gender, and Sexual
Health (The Family Library 2021). Quoting one witness, the dissenting opinion
describes It’s Perfectly Normal as “a general health book . . . for ages 10 to 12” that
“includes illustrations of adults in adult situations.” Dissent at 3 (cleaned up). But that
benign description hardly captures why a parent of a 10-year-old might object to the book.
See Little, 103 F.4th at 1184 (Duncan, J., dissenting) (showing one of the explicit cartoon
depictions of sexual activity in It’s Perfectly Normal).
        22
            Compare Little, 103 F.4th at 1154 n.12 (Wiener, J.) (removing It’s Perfectly Normal
is impermissible because it expresses “a viewpoint sufficient to support an unconstitutional
motivation under Campbell”), with id. at 1158–59 (Southwick, J., concurring) (removing
It’s Perfectly Normal is “likely permissible” because it was “removed as part of the library’s
efforts to respond to objections that certain books promoted grooming and contained
sexually explicit material that was not appropriate for children”). The majority also split
over removing the “Butt and Fart Books” and In the Night Kitchen. Id. at 1154 n.12.




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If the library deems the book “inaccurate” or “educationally unsuitable,”
yes. But if the library dislikes its content or viewpoint, no. The problem is
obvious: deeming a book “inaccurate” or “unsuitable” is often the same thing
as disliking its “content” and “viewpoint.” Judges might as well flip a coin.
         It is worth noting plaintiffs’ view on this question. Incredibly, they
maintain the First Amendment forbids removing even racist books. They
defended that position before the panel: a librarian, they insisted, cannot
remove “a book by a former Grand Wizard of the Ku Klux Klan” if she
dislikes its view that “black people are an inferior race.” Little, 103 F.4th at
1172–73 (Duncan, J., dissenting). At en banc, they doubled down. See O.A.
Rec. at 37:34–45 (“My answer is still no, Judge Duncan.”). Astonishing.
Who knew that the First Amendment requires libraries to shelve the
collected works of the Ku Klux Klan?23
        That is, of course, utter nonsense. “[I]f a library had to keep just any
book in circulation—no matter how out-of-date, inaccurate, biased, vulgar,
lurid, or silly,” then “[i]t would be a warehouse, not a library.” Id. at 1167
(Duncan, J., dissenting). That is confirmed, not only by common sense, but
also by the practices of leading library associations.



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           The dissenting opinion dismisses such inquiries as mere “rhetorical questions.”
Dissent at 15. Not so. Courts sensibly ask whether a proposed rule could lead to absurd
consequences. See, e.g., Zobrest v. Catalina Foothills Sch. Dist., 509 U.S. 1, 8 (1993)
(rejecting Establishment Clause rule barring religious groups from receiving general public
benefits because, otherwise, “a church could not be protected by the police and fire
departments, or have its public sidewalk kept in repair”) (citation omitted). Notably, the
dissent declines to say whether its own rule would forbid a library’s removing a racist book.
But the answer seems clear. If the First Amendment prohibits a public library from
removing a book because of its “inappropriate, offensive, or . . . undesirable” content,
Dissent at 32, then the library could not constitutionally remove from its shelves even the
most noxious racist screed. That is reason enough to reject the dissent’s proposed rule.




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       For example, a Texas weeding manual instructs librarians to weed
“books that contain stereotyping . . . or gender and racial biases,”
“unbalanced and inflammatory items [about immigration],” and “books that
reflect outdated ideas about gender roles.” CREW: A Weeding
Manual for Modern Libraries, 33, 65, 73 (Texas State Library &
Archives Comm’n 2012). Similarly, the American Library Association
(ALA) advises librarians to remove “items reflecting stereotypes or
outdated thinking; items that do not reflect diversity or inclusion; [and] items
that promote cultural misrepresentation.” Rebecca Vnuk, The
Weeding Handbook: A Shelf-by-Shelf Guide, 6 (ALA
Editions, 2d ed. 2022). The same handbook proclaims it is “basic collection
maintenance” to remove racist books, such as “the Dr. Seuss books that are
purposefully no longer published due to their racist content.” Id. at 106.24
       Whatever else one might think of the advice in these guides, it is
unmistakably viewpoint discrimination. And, by plaintiffs’ account, all of it
violates the First Amendment. That cannot be the law. By definition, libraries
must have discretion to keep certain ideas—certain viewpoints—off the
shelves. “The First Amendment does not force public libraries to have a Flat
Earth Section.” Little, 103 F.4th at 1167 (Duncan, J., dissenting).
       Finally, by removing a book, the library does not prevent anyone from
“receiving” the information in it. The library does not own every copy. You
could buy the book online or from a bookstore. You could borrow it from a
friend. You could look for it at another library. See Pico, 457 U.S. at 915

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           Surprisingly, the ALA joined an amici brief that contradicts its own weeding
advice. See Brief for Amici Curiae Freedom to Read Found. et al., as Amici Curiae at 11–
12, 15 (arguing that weeding is based on “viewpoint neutrality,” is “not the targeted
removal of disfavored or controversial books,” and “should not be used as a deselection
tool for controversial materials”).




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(Rehnquist, J., dissenting) (“[T]he most obvious reason that petitioners’
removal of the books did not violate respondents’ right to receive information
is the ready availability of the books elsewhere.”). The only thing
disappointed patrons are kept from “receiving” is a book of their choice at
taxpayer expense. That is not a right guaranteed by the First Amendment.
       C. Campbell is overruled.
       That brings us to Campbell, where we considered a challenge to a
school board’s removal of the book Voodoo & Hoodoo from school libraries in
a Louisiana parish. See 64 F.3d at 185. The book, which “trace[d] the
development of African tribal religion,” featured a “how-to” guide to using
“spells, tricks, hexes, [and] recipes . . . to bring about particular events.”
Ibid. Relying on Justice Brennan’s Pico opinion, Campbell ruled the removal
implicated students’ “First Amendment right to receive information.” Id. at
188 (citing Pico, 457 U.S. at 872 (op. of Brennan, J.)).
       Defendants argue Campbell was wrongly decided and should be
overruled. We agree.
       To begin with, Campbell drew its holding from one of Pico’s “highly
fractured” opinions. Chiras, 432 F.3d at 619 n.32. But we long ago held, and
today reaffirm, that Pico lacks precedential value. See Muir, 688 F.2d at 1045
n.30 (“We are unable to interpret the Court’s opinion in Pico to give us
guidance in the application of the First Amendment[.]”). What’s more, only
three of the Pico Justices thought students could challenge book removals by
asserting a right to receive information. See Pico, 457 U.S. at 866–67 (op. of




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Brennan, J., joined by Marshall and Stevens, JJ.). That idea was rejected by a
majority of the Justices.25
        They were right to do so. Yes, cases protect your right to receive
information from other people, but none gives you the right to demand it
from the government. See supra III.A. For good reason. People could tell
libraries not only which books to keep but also which to buy. Courts would
endlessly split hairs over a library’s motives for removing a book. And, most
obvious, removing a library book does not deny anyone the chance to read it.
The book has not been “banned,” as plaintiffs and their amici breathlessly
claim.26 People who want the book can buy it or borrow it from somewhere
else. See supra III.B.
        Campbell also made little sense on its own terms. It held a library could
not remove a book to “deny students access to ideas” but could remove it for
“pervasive[] vulgar[ity]” or “educational suitability.” 64 F.3d at 188–89
(citation omitted). Try applying that standard to Voodoo & Hoodoo.
        The book’s “section on voodoo spells,” according to parents,
“encouraged harmful, antisocial behavior among young readers.” Id. at 186
(cleaned up). That is putting it mildly. One “spell” required “[o]btain[ing]
a piece of the intended victim’s hair,” while another advised using
“menstrual blood, pubic hair, semen, urine, and excrement.” Id. at 185 n.2.
What is the difference between wanting to “deny access” to those ideas and

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          See id. at 878 (Blackmun, J., concurring in part and concurring in the judgment);
id. at 888 (Burger, C.J., dissenting); id. at 895 (Powell, J., dissenting); id. at 904, 910
(Rehnquist, J., dissenting); id. at 921 (O’Connor, J., dissenting); see also supra III.A.
        26
           See Suppl. Brief of Appellees (referring throughout to the 17 “Banned Books”);
Brief for Assoc. of Am. Publishers, Inc. et al. as Amici Curiae (same); Brief for Found. for
Individual Rts. and Expression as Amicus Curiae at 1, 5, 6, 8–11, 15, 17, 33; Brief for Tex.
Freedom to Read Project as Amicus Curiae at 4, 8, 16, 21, 28.




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thinking they are “vulgar” or “educationally unsuitable”? None. Yet
Campbell’s holding was grounded on that faux distinction. 27
        Plaintiffs counter that Campbell is “straightforward” because it only
forbids “viewpoint animus.” That is incorrect for at least two reasons.
        For starters, Campbell is not based on “viewpoint animus,” but on
whether a library wants to “deny students access to ideas.” Id. at 188–89.
There is nothing straightforward about that standard, as this case vividly
shows. The panel majority could not agree how Campbell applied to over half
of the challenged books. Compare Little, 103 F.4th at 1154 & n.12 (Wiener,
J.), with id. at 1158–59 (Southwick, J., concurring). If federal judges cannot
tell whether removing a book violates the First Amendment, how are
librarians supposed to? Are they “denying access to ideas” or are they
removing books that are “vulgar” or “educationally unsuitable”? Should
they keep a constitutional lawyer on staff?
        But suppose that Campbell only forbids “viewpoint animus,” as
plaintiffs claim. That works no better. Racism is a viewpoint. So is sexism. So
are “quackeries like phrenology, spontaneous generation, tobacco-smoke
enemas, Holocaust denial, [and] the theory that the Apollo 11 moon landing
was faked.” Id. at 1167 (Duncan, J., dissenting).28 If a librarian finds such

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          This lack of internal consistency is further evidence Campbell was wrongly
decided. After all, “[t]he primary power of any precedent lies in its power to persuade—
and poorly reasoned decisions may not provide reliable evidence of the law’s meaning.”
Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2280 (2024) (Gorsuch, J.,
concurring).
        28
          See, e.g., Lydia Kang, Quackery: A Brief History of the Worst
Ways to Cure Everything (2017) (discussing 18th-century notion that “tobacco-
smoke enemas” could revive drowning victims); Henry Harris, Things Come to
Life: Spontaneous Generation Revisited (2002) (discussing “the theory that
inanimate material can, under appropriate conditions, generate life forms by completely
natural processes”); Audiey Kao, Medical Quackery: The Pseudo-Science of Health and Well-




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dreck on the shelves, does the First Amendment bar him from removing it?
Of course not. See, e.g., Frederick F. Schauer, Principles, Institutions, and the
First Amendment, 112 Harv. L. Rev. 84, 106 (1998) (“[One] would hardly
disagree . . . with the ability of a librarian to select books accepting that the
Holocaust happened to the exclusion of books denying its occurrence.”).
        Finally, plaintiffs urge us to keep Campbell because “librarians in this
Circuit have successfully operated under it for nearly 30 years.” We disagree.
Plaintiffs cite nothing showing what role, if any, Campbell has played in
controversies over library books.29 Our court rarely cites Campbell and has
never applied it until the panel in this case.30 So, nothing suggests that
overruling Campbell would upend library administration in this Circuit.

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Being, 2 Virtual Mentor: A.M.A. J. Ethics 30, 30 (Apr. 2000) (explaining that
early-20th-century phrenology practitioners purported to examine a person’s character by
“measur[ing] the conformation of the skull” with a “psychograph”); Deborah E.
Lipstadt, Denying the Holocaust: The Growing Assault on Truth
and Memory (1994) (discussing history of Holocaust denial).
        29
          Nor does the dissenting opinion, which instead baldly asserts that “the lack of
substantial post-Campbell litigation suggests, if anything, that Campbell provides a workable
standard for libraries.” Dissent at 14 n.7. That is pure speculation. To the contrary, the
panel majority’s inability to coherently apply Campbell in this very case suggests exactly the
opposite. See Little, 103 F.4th at 176–77 (Duncan, J., dissenting) (“The two judges in the
majority cannot agree on how their rules apply to over half of the books at issue.”).
        30
           Indeed, in Chiras v. Miller—a case that rejected, among other things, a student’s
claim that the state violated his right to receive information by not funding a particular
textbook—we addressed the precedential value of Pico at length without once citing
Campbell. See Chiras, 432 F.3d at 618–20. Whether we have relied on a decision is, of
course, not dispositive of its accuracy but does “point[] to clues” indicating whether the
decision was correct. Loper Bright Enterprises, 144 S. Ct. at 2280; see also Knick v. Township
of Scott, 588 U.S. 180, 203 (2019) (listing reliance on the decision as relevant stare decisis
consideration). While lack of citation is by no means the primary reason we overrule
Campbell, it speaks to our past and current hesitancy to apply precedent that appears
incorrect. See Loper Bright Enterprises, 144 S. Ct. at 2271 (“[W]e have avoided deferring
under Chevron since 2016. . . . [F]or decades, we have often declined to invoke Chevron
even in those cases where it might appear to be applicable.”).




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        In any event, the key factor in deciding whether to overrule Campbell
is whether its “holding was indeed flawed.” Kauffman, 981 F.3d at 369. It
was. Campbell is overruled.
                                             ***
        We hold that plaintiffs cannot challenge the library’s decision to
remove the 17 books by invoking a right to receive information. Their Free
Speech claims must therefore be dismissed.
                       IV. GOVERNMENT SPEECH
        Defendants, along with 18 amici States, separately argue that a public
library’s collection decisions are government speech and therefore not
constrained by the Free Speech clause. We tackle that question as follows.
        First (A), we survey the precedents. Second (B), we examine whether
a library’s collection creates a public forum for third-party speech, which is
often the flip side of the government speech question. Third (C), we examine
the factors set out by the recent government speech case, Shurtleff v. City of
Bos., 596 U.S. 243, 252 (2022).31 Finally (D), we sum up.32

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          The dissenting opinion’s entire response to this 25-page analysis consists of one
footnote. See Dissent at 22 n.14. We respond below to the few points it raises.
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           Plaintiffs (and the dissent) argue this issue was “waived” because defendants
did not raise it before the panel. See Dissent at 23 n.14. Not so. The issue was raised and
ruled on in the district court, ruled on by the panel majority, and thoroughly explored in en
banc briefing. So, the issue is before us. See Lucio v. Lumpkin, 987 F.3d 451, 478 (5th Cir.
2021) (“The maxim is well established in this circuit that a party who fails to make an
argument before either the district court or the original panel waives it for purposes of en banc
consideration.” (emphasis added) (citation omitted)); see also Miller v. Texas Tech Univ.
Health Scis. Ctr., 421 F.3d 342, 348–49 (5th Cir. 2005) (en banc) (finding issue forfeited
because “TTUHSC failed to raise this argument in its briefs before either the district court
or the original panel of this court” and “[n]either did it argue the point in its original en
banc brief”). In any event, we have discretion to reach the issue. See Singleton v. Wulff, 428
U.S. 106, 121 (1976) (“[W]hat questions may be taken up and resolved for the first time on




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        A. Government speech precedents
        The new President gives his inaugural address. (“We are all
Republicans, we are all Federalists.”). The Army puts up
recruiting posters (“I want YOU for U.S. Army.”). The Department
of Agriculture sponsors an ad campaign. (“Beef. It’s What’s for
Dinner.”). See Johanns v. Livestock Marketing Ass’n, 544 U.S. 550, 560–62
(2005). The City of Chicago congratulates the victorious Cubs. (“The
Curse is Over!”).
        In such cases, it is evident who is speaking: the government. “When
the government wishes to state an opinion, to speak for the community, to
formulate policies, or to implement programs, it naturally chooses what to
say and what not to say.” Shurtleff, 596 U.S. at 251 (citing Walker v. Tex. Div.,
Sons of Confederate Veterans, Inc., 576 U.S. 200, 207–08 (2015)). If the
government could not do so, “it is not easy to imagine how government could
function.” Pleasant Grove City v. Summum, 555 U.S. 460, 468 (2009).
        People can talk back, of course. They can speak out against (and vote
against) policies and officials they disagree with.33 At the same time, though,
“[t]he Free Speech Clause . . . does not regulate government speech.”
Summum, 555 U.S. at 467 (citations omitted). People can protest what the
government says, but they cannot sue to make the government say what they

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appeal is one left primarily to the discretion of the courts of appeals[.]”); see also Stramaski
v. Lawley, 44 F.4th 318, 326 (5th Cir. 2022) (“[W]e may use our ‘independent power to
identify and apply the proper construction of governing law’ to any ‘issue or claim [that] is
properly before the court, . . . not limited to the particular legal theories advanced by the
parties.’” (quoting Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 99 (1991))).
        33
           See McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 347 (1995) (“[A]dvocacy of
a politically controversial viewpoint . . . is the essence of First Amendment expression.”
(citation omitted)); Walker, 576 U.S. at 207 (recognizing “it is the democratic electoral
process that first and foremost provides a check on government speech”).




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want. “[W]hen the government speaks for itself, the First Amendment does
not demand airtime for all views.” Shurtleff, 596 U.S. at 247–48.
       In some cases, the line between government and private speech
“blur[s].” Id. at 252; see also Summum, 555 U.S. at 470 (noting “situations in
which it is difficult to tell whether a government entity is speaking on its own
behalf or is providing a forum for private speech”). This is one of them. Most
of the books in the Llano County library were written and published by
private authors and private firms. They are private speech. Yet the county
librarian, along with other county officials, decides which books to buy, buys
them with public funds, and manages the library collection. See Tex. Loc.
Gov’t Code §§ 323.001, 323.002, 323.005(c), 323.006, 323.007.
       That poses the question: when Llano County shapes its library
collection, choosing some books but not others, is the county itself speaking
or is the county regulating private speech?
       To answer, we turn first to the precedents.
              1. Supreme Court cases
       The most instructive cases are those where a speaker presents a
curated collection of third-party speech. See Moody v. NetChoice, LLC, 144 S.
Ct. 2383, 2400 (2024) (“[E]xpressive activity includes presenting a curated
compilation of speech originally created by others.”). A newspaper runs
certain editorials but not others. See Miami Herald Pub. Co. v. Tornillo, 418
U.S. 241, 258 (1974). A cable operator broadcasts some programs but not
others. See Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 636 (1994). A
parade organizer lets in certain floats but not others. Hurley v. Irish–Amer.
Gay, Lesbian and Bisexual Grp. of Bos., Inc., 515 U.S. 557, 570 (1995). The
editors of a poetry collection select works to “express[] their view about the
poets and poems that most deserve the attention of their anticipated
readers.” Moody, 144 S. Ct. at 2430 (Alito, J., concurring in the judgment).




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       In such cases, the Supreme Court has held that the speaker is the one
who selects, compiles, and presents. See, e.g., Hurley, 515 U.S. at 570
(discussing the “speaker[s]” in those cases who “present[ed] … an edited
compilation of speech generated by other persons” (citations omitted)). The
Court recently put the point this way: “Deciding on the third-party speech
that will be included in or excluded from a compilation—and then organizing
and presenting the included items—is expressive activity of its own.” Moody,
144 S. Ct. at 2402; see also id. at 2430 (Alito, J., concurring in the judgment)
(“[A] compilation may constitute expression on the part of the compiler.”).
       Like a private person, a government may express itself by crafting and
presenting a collection of third-party speech. See, e.g., Ark. Educ. Television
Comm’n v. Forbes, 523 U.S. 666, 674 (1998) (“When a public broadcaster
exercises editorial discretion in the selection and presentation of its
programming, it engages in speech activity.” (citation omitted)). A key
precedent illustrating this point is City of Pleasant Grove v. Summum, 555 U.S.
460.
       In that case, the City created displays in a public park by accepting
privately donated monuments, including one of the Ten Commandments. Id.
at 464–65. A religious organization asked the City to include its own
monument. Id. at 465. When the City refused, the organization sued, arguing
the City violated the Free Speech Clause by engaging in viewpoint
discrimination. Id. at 466.
       The Supreme Court disagreed. The City’s selecting some
monuments over others “constitute[s] government speech.” Id. at 472–74.
It did not matter that the monuments were works by private sculptors. Id. at
464. The relevant expression was the City’s choosing the ones it wanted. Id.
at 473 (“The City has selected those monuments that it wants to display for
the purpose of presenting the image of the City that it wishes to project to all




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who frequent the Park[.]”). The City could “express its views,” the Court
explained, even “when it receives assistance from private sources for the
purpose of delivering a government-controlled message.” Id. at 468 (citing
Johanns, 544 U.S. at 562).34
        Summum maps neatly onto our case. Just as the City of Pleasant Grove
selected private speech (monuments) and displayed that speech in a park, the
Llano County library selects private speech (books) and features them in the
library. The relevant expression lies not in the monuments or the books
themselves, but in the government’s selecting and presenting the ones it
wants. And in both cases the government sends a message. Pleasant Grove
said, “These monuments project the image we want.” See Summum, 555
U.S. at 473. Llano County says, “These books are worth reading.”
        Plaintiffs object that, while a City’s selecting monuments for a park is
an expressive act, a library’s selecting books for a library does not convey
“any particular message to the public.” We disagree.
        Consider one of the precedents cited by Summum: the plurality
opinion in ALA, 539 U.S. 194. See Summum, 555 U.S. at 478 (citing ALA, 539
U.S. at 205 (plurality)). ALA addressed a federal law giving libraries money
for internet access, provided they installed filters to block obscene or
otherwise illegal material. ALA, 539 U.S. at 199 (plurality). In rejecting a Free
Speech challenge to the law, the four-Justice plurality35 relied heavily on
libraries’ broad discretion to shape their collections. See id. at 207 (plurality)



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          As we discuss below, the Court also held that the City did not create a public
forum for private speech. Id.at 478–80. See infra IV.B.
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         See 539 U.S. at 198, 214 (plurality); id. at 214 (Kennedy, J., concurring in the
judgment); id. at 215 (Breyer, J., concurring in the judgment).




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(describing internet as “a technological extension of the book stack” (citation
omitted)).
       Again and again, the plurality emphasized the expressive character of
a library’s collection decisions. A library’s “goal” in choosing books is to
“provide materials that would be of the greatest direct benefit or interest to
the community,” to “collect only those materials deemed to have requisite
and appropriate quality,” and to “identif[y] suitable and worthwhile
material.” Id. at 204, 208 (plurality) (quotation omitted). To drive the point
home, the plurality quoted this advice from a library manual: “The librarian’s
responsibility . . . is to separate out the gold from the garbage[.]” Id. at 204
(plurality) (quoting W. Katz, Collection Development: the
Selection of Materials for Libraries 6 (1980)).
       The governments in ALA and Summum each engaged in the
“expressive activity” of selecting and presenting private speech. Moody, 144
S. Ct. at 2400. The library “decid[ed] what private speech to make available
to the public,” ALA, 539 U.S. at 204 (plurality) (citation omitted), just as the
City “decided to accept . . . donations [of monuments] and to display them
in the Park.” Summum, 555 U.S. at 472. Both were “[d]eciding on the third-
party speech that will be included in or excluded from a compilation—and
then organizing and presenting the included items.” Moody, 144 S. Ct. at
2402. And, as discussed below, public libraries have been doing precisely that
since they arose in the mid-19th century. See infra IV.C.
       In sum, Supreme Court precedent teaches that someone may engage
in expressive activity by curating and presenting a collection of someone
else’s speech. See Moody, 144 S. Ct. at 2400, 2402; id. at 2430 (Alito, J.,
concurring in the judgment); Hurley, 515 U.S. at 570; Turner Broad., 512 U.S.
at 636; Miami Herald, 418 U.S. at 258. Governments can speak in this way,




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no less than private persons. See Summum, 555 U.S. at 472–73; Forbes, 523
U.S. at 674.
        Take any public museum—say, the National Portrait Gallery. The
Gallery selects portraits and presents them to the public. Its message is:
“These works are worth viewing.”36 A library says the same thing through
its collection: “These books are worth reading.” The messages in both cases
are the government’s.37
                2. Circuit cases
        Next, we consider circuit cases that, like Summum, treat the
government’s selective presentation of third-party speech as the
government’s own expression. Indeed, one of those, PETA v. Gittens, 414
F.3d 23, 28 (D.C. Cir. 2005), states in dictum that “[w]ith respect to the
public library, the government speaks through its selection of which books to
put on the shelves and which books to exclude.”
        For instance, in Sutliffe v. Epping Sch. Dist., 584 F.3d 314 (1st Cir.
2009), plaintiffs sued a town for refusing to include their hyperlink on the
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           Indeed, the Gallery’s stated mission is “to tell the story of America” through its
selection of portraits. See About us, National Portrait Gallery (Dec. 11, 2024),
https://perma.cc/XKD9-ECE4.
        37
           What response does the dissenting opinion offer to our discussion of these
numerous Supreme Court precedents? None at all. The dissent does not address Moody,
nor Miami Herald, nor Turner Broadcasting, nor Forbes, nor Hurley, nor Summum, nor ALA.
Nor does the dissent discuss (or even cite) any of the circuit precedents we discuss below.
Indeed, the only substantive contribution the dissent makes is to misstate our holding.
Contrary to the dissent’s view, we do not hold that “the government may ‘speak’ by
removing library books for any reason.” Dissent at 24. That tendentious formulation
appears nowhere in our opinion. Instead, we hold that the county library speaks here by
compiling and curating a collection of third party speech, a task that by definition involves
selecting some books while excluding others. See, e.g., PETA, 414 F.3d at 28 (“With respect
to the public library, the government speaks through its selection of which books to put on
the shelves and which books to exclude.”).




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town’s website. Applying Summum and ALA, the First Circuit rejected the
plaintiff’s Free Speech challenge: “[T]he Town engaged in government
speech by establishing a town website and then selecting which hyperlinks to
place on its website.” Id. at 331 (citing Summum, 539 U.S. at 472–74). When
government “uses its discretion to select between the speech of third parties
for presentation” through government channels, “this in itself may
constitute an expressive act by the government that is independent of the
message of the third-party speech.” Id. at 330 (citing Summum, 539 U.S. at
470–77).
       Similarly, in Ill. Dunesland Pres. Soc’y v. Ill. Dep’t of Nat. Res., 584 F.3d
719, 721 (7th Cir. 2009), plaintiffs sued an agency for refusing to include their
“scary two-page pamphlet” in park display racks. The pamphlet warned
about “asbestos contamination” at park beaches. Ibid. Applying Summum,
the Seventh Circuit rejected plaintiffs’ Free Speech challenge by
characterizing the selection of materials as government expression “designed
to attract people to the park.” Id. at 724–25 (citing Summum, 539 U.S. at 467–
68). As the court explained:
       The [agency’s] choice of materials conveys a message that is
       contradicted by the plaintiff’s pamphlet. The message of the
       publications in the display racks is: come to the park and have
       a great time on the sandy beaches. The message of the
       plaintiff’s pamphlet is: you think you’re in a nice park but really
       you’re in Chernobyl[.]
Id. at 725. The court also highlighted the absurdity of a viewpoint neutrality
requirement: “Must every public display rack exhibit on demand pamphlets
advocating nudism, warning that the world will end in 2012, . . . or
proclaiming the unconstitutionality of the income tax, together with
pamphlets expressing the opposing view on all these subjects?” Ibid. (citation
omitted).




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        Particularly helpful is the D.C. Circuit’s decision in PETA v. Gittens,
414 F.3d 23. For its public art program called “Party Animals,” the District
of Columbia solicited designs for donkey and elephant sculptures. Id. at 25.
Designs chosen by the District would be displayed at prominent locales. Id.
at 26. PETA submitted two elephant designs, “one of a happy circus
elephant, the other of a sad, shackled circus elephant with a trainer poking a
sharp stick at him.” Ibid. After the District “accepted the happy elephant,
but rejected the sad one,” PETA sued under the Free Speech Clause. Ibid.
The district court granted a preliminary injunction requiring the District to
display the sad elephant. Id. at 27.38 The D.C. Circuit reversed.
        The District’s choice of some designs over others, the court held, was
the District’s own speech. Id. at 28 (citing Forbes, 523 U.S. at 674). The court
distinguished the District’s speech from the artists’ speech, using the
analogy of public library books: “As to the message any elephant or donkey
conveyed, this was no more the government’s speech than are the thoughts
contained in the books of a city’s library.” Ibid. Nonetheless, government
speech was still present:
        With respect to the public library, the government speaks through
        its selection of which books to put on the shelves and which books to
        exclude. In the case before us, the Commission spoke when it
        determined which elephant and donkey models to include in
        the exhibition and which not to include.
Ibid (emphasis added).39

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          This version “depict[ed] a shackled elephant crying” with a “sign tacked to the
elephant’s side [that] read: ‘The Circus is coming. See SHACKLES–BULL HOOKS–
LONELINESS. All under the ‘Big Top.’” Id. at 26.
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           While PETA pre-dated Summum, its analysis anticipated the Supreme Court’s.
See id. at 29 (“First Amendment constraints do not apply when the [government]
authorities engage in government speech by installing sculptures in the park. If the




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        Finally, our circuit has also applied the ALA plurality in the
government speech context. Chiras v. Miller considered a Free Speech
challenge to the Texas State Board of Education’s (“SBOE”) decision not
to select a textbook for the state curriculum. 432 F.3d 606, 611–15 (5th Cir.
2005). The textbook’s author claimed the SBOE engaged in viewpoint
discrimination by rejecting his book. Id. at 611. We disagreed. Relying on ALA
(among other decisions), we held: “[W]hen the SBOE devises the state
curriculum for Texas and selects the textbook with which teachers will teach
to the students, it is the state speaking, and not the textbook author.” Id. at 614
(emphasis added); see ibid. (discussing ALA, 539 U.S. at 205).40
        In sum, these circuit decisions follow the lessons of Summum and
other cases about the selection and presentation of third-party speech. By
selecting, compiling, and presenting a collection of another person’s speech,
the government expresses its own views. It may do so by selecting hyperlinks
for a town website, or pamphlets for a park display rack, or statues for a public
art display, or textbooks for a state curriculum. It may also do so by selecting
books for a library’s collection.




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authorities place a statue of Ulysses S. Grant in the park, the First Amendment does not
require them also to install a statue of Robert E. Lee.”).
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            Chiras also relied on two Supreme Court decisions that anticipated Summum.
The Court’s decision in Ark. Educ. Television Comm’n v. Forbes, we noted, recognized that
“public broadcasters exercise a wide degree of discretion when making programming
decisions.” Chiras, 42 F.3d at 613 (citing Forbes, 523 U.S. at 673). Similarly, Nat’l
Endowment for the Arts v. Finley, 524 U.S. 569 (1998), recognized that an “art funding
program . . . required the NEA to use content based criteria in making funding decisions.”
Chiras, 432 F.3d at 614. The ALA plurality likewise drew on Forbes and Finley in recognizing
libraries’ discretion to shape their collections. See ALA, 539 U.S. at 204–05 (plurality)
(discussing Forbes and Finley).




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                3. Some objections
        Most of plaintiffs’ objections to applying the government speech
doctrine focus on the Shurtleff factors, so we address those below. See infra
IV.C.1. We address a few broad objections here, however.
        First, plaintiffs contend that “censoring public library books is not
government speech.” That is wordplay, not argument. Any of the
government speech cases just discussed could be tendentiously reframed as
the government “censoring” private speech. For instance, someone could
have accused the City in Summum of “censoring” the monuments it rejected
for its display. Or someone could have said the District of Columbia in PETA
was “censoring” the sad elephant statue it rejected. Courts do not frame the
question that way, though. Instead, they ask whether a government’s
selective compilation and presentation of third-party speech constitutes
government speech. See Summum, 555 U.S. at 468; PETA, 414 F.3d at 30.
Plaintiffs do not confront that question.41
        Second, plaintiffs warn that finding government speech here will
dangerously “expand” the doctrine, setting the stage for government to
“silence or muffle” protected speech. To support this argument, plaintiffs
rely heavily on the Supreme Court’s decision in Matal v. Tam, 582 U.S. 218
(2017).42 Plaintiffs are mistaken.



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           Plaintiffs also suppose that the claimed government speech here is merely a
library’s “warranting” that books “are of a particular[] quality.” Not so. A library selects
books it thinks suitable, buys them with public funds, and presents a curated collection to
the public. That is the “expressive activity” at issue, Moody, 144 S. Ct. at 2400, not merely
the government’s putting its seal of approval on a book.
        42
           The dissenting opinion also claims our government speech holding
“contradicts” Matal, see Dissent at 23 n.14, but does not explain how.




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       In Matal, the federal Patent and Trademark Office (“PTO”) refused
to place a rock band’s name on the principal register because it found the
name (“The Slants”) was “disparaging” under trademark law. See 582
U.S. at 227–29. The Supreme Court held this violated the band leader’s Free
Speech rights by discriminating based on viewpoint. See id. at 243–44, 247.
       For several reasons, the Court rejected the PTO’s argument that “the
content of a registered mark is government speech.” See id. at 236, 234–39.
For instance, the PTO registers marks without asking whether the
government agrees with a mark’s viewpoint. Id. at 235. And how could one
put into the government’s mouth the “content” of millions of registered
marks, many of which express conflicting views? Id. at 236 (“If the federal
registration of a trademark makes the mark government speech, the Federal
Government is babbling prodigiously and incoherently.”). Moreover,
“[t]rademarks have not traditionally been used to convey a Government
message.” Id. at 238. Finally, the PTO does not “approv[e]” a mark by
registering it, nor does the public think the government adopts “the
contents” of marks. Id. at 237, 238.
       Matal has no bearing here. To begin with, the claimed government
speech is entirely different. Defendants argue that a library speaks by
selecting and presenting a collection of books. See Moody, 144 S. Ct. at 2400
(“[E]xpressive activity includes presenting a curated compilation of speech
originally created by others.”). In Matal, by contrast, the PTO argued the
government spoke through the actual content of the marks. See Matal, 582
U.S. at 236 (rejecting PTO’s “far-fetched” argument that “the content of a
registered mark is government speech”). The two cases would be equivalent
only if Defendants claimed the library’s speech lay in the words of the books
themselves. No one argues that, though. See PETA, 414 F.3d at 28 (“Those
who check out a Tolstoy or Dickens novel would not suppose that they will
be reading a government message.”).



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       Matal also lacks the expressive elements present here. While a library
selects only the books it wants, the PTO does not register only the marks it
likes; registering all qualified marks is “mandatory.” Matal, 582 U.S. at 235.
Similarly, the register is not a curated compilation—rather, it is a listing of
millions of marks that “meet[] the Lanham Act’s viewpoint-neutral
requirements.” Ibid. Nor is the register presented to the public; to the
contrary, few people “ha[ve] any idea what federal registration of a
trademark means.” Id. at 237. And, while trademarks have never been
thought to convey government messages, libraries’ collection decisions (as
discussed in IV.C, infra) have traditionally conveyed the library’s view of
worthwhile literature.
       Finally, Matal’s concerns about expanding government speech are
not implicated here. The Court worried that, “[i]f federal registration makes
a trademark government speech,” then someone could say the same about
copyright. See id. at 239 (“[W]ould the registration of the copyright for a book
produce a similar transformation?”). This case raises no such worry. No one
supposes that, by choosing books, the library transforms the books
themselves into government speech. The library’s speech consists only in
presenting a curated collection of books to the public. See Moody, 144 S. Ct.
at 2402 (“expressive activity” consists in “[d]eciding on the third-party
speech that will be included in or excluded from a compilation—and then
organizing and presenting the included items”).
       In sum, recognizing the library’s activity as government speech raises
no danger of the government’s suppressing someone else’s speech. The
books a library excludes from its shelves do not vanish into thin air. They
remain available elsewhere for anyone to read. See Pico, 457 U.S. at 915
(Rehnquist, J., dissenting) (“[T]he most obvious reason that petitioners’
removal of the books did not violate respondents’ right to receive information
is the ready availability of the books elsewhere.”).



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        B. Public forum doctrine
        Another way of looking at the government speech issue is to ask
whether a library, by selecting books, creates a public forum. In cases where
the government displays third-party speech, the government speech and
public forum doctrines are often two sides of the same coin. The government
argues that it is speaking (and so can say what it wants), while plaintiffs
counter that the government has created a public forum (where viewpoint
discrimination is forbidden). See Shurtleff, 596 U.S. at 252 (asking whether
“government–public engagement transmit[s] the government’s own
message” or whether “it instead create[s] a forum for the expression of
private speakers’ views”).43 The public forum argument has dropped out of
this case, but it is still helpful to illustrate the nature of the expression
represented by a library’s collection.44
        Forum analysis assesses when government can regulate private
speech on property it owns or controls. See generally Cornelius v. NAACP
Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800 (1985); Freedom From
Religion Found. v. Abbott, 955 F.3d 417, 426–27 (5th Cir. 2020) [“FFRF”]. In
traditional public fora—sidewalks, streets, and parks—the government has
little regulatory leeway: content- or viewpoint-based restrictions are strictly
scrutinized. FFRF, 955 F.3d at 426 (citing Fairchild v. Liberty Indep. Sch.

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          See also Summum, 555 U.S. at 478, 472 (rejecting forum analysis while accepting
government speech); PETA, 414 F.3d at 28 (same); Walker, 576 U.S. at 208–09, 214–15
(accepting government speech while rejecting forum analysis); cf. id. at 233–34 (Alito, J.,
dissenting) (accepting forum analysis while rejecting government speech).
        44
           In granting a preliminary injunction, the district court relied in part on the notion
that public libraries are limited public fora. See Little, 2023 WL 2731089, at *7 n.4. Plaintiffs
defended that view at the panel stage, see Little, 103 F.4th at 1174 (Duncan, J., dissenting),
but the panel majority did not adopt it. See id. at 1149; see also id. at 1174 (Duncan, J.,
dissenting). At en banc, plaintiffs no longer relied on the argument.




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Dist., 597 F.3d 747, 758 (5th Cir. 2010)).45 The government has more latitude
in “limited” public fora, which are “places that the government has opened
for public expression of particular kinds or by particular groups.” Ibid. (citing
Chiu v. Plano Indep. Sch. Dist., 260 F.3d 330, 346 (5th Cir. 2001) (per
curiam)). There, restrictions are valid if they are “(1) reasonable in light of
the purpose served by the forum and (2) do[] not discriminate against speech
on the basis of viewpoint.” Id. at 426–27.
        To support their forum argument at the panel stage, Plaintiffs pointed
to three sister-circuit decisions that deem libraries some kind of public forum.
Those cases have no bearing on the question before us, however. They
address whether libraries may evict people from their premises—such as sex
offenders, shoeless persons, or a vagrant who menaced library staff and
whose “odor was often so offensive that it prevented the [l]ibrary patrons
from using certain areas of the [l]ibrary.” See Doe v. City of Albuquerque, 667
F.3d 1111, 1115 (10th Cir. 2012) (sex offenders); Neinast v. Bd. of Tr. of the
Columbus Metro. Libr., 346 F.3d 585, 589 (6th Cir. 2003) (shoeless man);
Kreimer v. Bureau of Police for Town of Morristown, 958 F.2d 1242, 1247–48
(3d Cir. 1992) (menacing, odiferous vagrant). Those courts answered that
question by treating a library’s premises as a public forum. See, e.g., Kreimer,
958 F.2d at 1259 (library at issue “constitutes a limited public forum”).
        We need not decide whether this analysis was correct. It is one thing
to say that a public library’s premises may constitute some kind of public
forum. A library might open one of its rooms to poetry readings by the public

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           The same standard applies to “designated” public fora, which are “places that
the government has designated for the same widespread use as traditional public forums.”
Ibid. (citation omitted). In either traditional or designated public fora, however, the
government may impose reasonable restrictions on the time, place, and manner of private
speech. See, e.g., Minn. Voters All. v. Mansky, 585 U.S. 1, 11 (2018) (citation omitted).




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and thereby create a limited public forum. See, e.g., id. at 1259–60 (concluding
library was “a limited public forum” because “the government intentionally
opened the Library to the public for expressive activity”). It is entirely another
thing, though, to extend this concept to a library’s bookshelves. Plaintiffs’
cases lend no support for that. They address only whether a library can evict
people. See, e.g., Neinast, 346 F.3d at 592 (upholding no-shoes policy because
it avoided “tort claims brought by library patrons who were injured because
they were barefoot”). They say nothing about whether a library can evict
books from its shelves.
       More to the point, it makes no sense to apply forum analysis to a
library’s collection. Library shelves are not a community bulletin board: they
are not “places” set aside “for public expression of particular kinds or by
particular groups.” FFRF, 955 F.3d at 426. If they were, libraries would have
to remain “viewpoint neutral” when choosing books. See Summum, 555 U.S.
at 470 (limited public fora’s restrictions must be “viewpoint neutral”). That
would be absurd. Libraries choose certain viewpoints (or range of viewpoints)
on a given topic. But they may exclude others. A library can have books on
Jewish history without including the Nazi perspective. See, e.g., Schauer at
106 (explaining a librarian may choose books “accepting that the Holocaust
happened to the exclusion of books denying its occurrence”). Forum analysis
has no place on a library’s bookshelves.
       This conclusion is supported by the government speech cases
discussed above. See supra IV.A.1–2. Start again with Summum. In addition
to ruling that the City was speaking by choosing monuments, the Court also
ruled that the City did not create a public forum. Allowing “a limited number
of permanent monuments” was not the same as opening the park for “the
delivery of speeches [or] the holding of marches.” Summum, 555 U.S. at 478.
The park obviously had limited space. And it would be absurd to bar the City
from engaging in “viewpoint discrimination” when choosing monuments.



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“On this view,” the Court noted, the United States could have accepted the
Statue of Liberty only by “providing a comparable location” for, say, a
“Statue of Autocracy.” Id. at 479. “[P]ublic forum principles,” then, were
“out of place in the context of th[at] case.” Id. at 478 (quoting ALA, 539 U.S.
at 205 (plurality)).
       Or consider the D.C. Circuit’s PETA decision. Also citing ALA, the
court held the District did not create a public forum. PETA, 414 F.3d at 29
(quoting ALA, 539 U.S. at 204–05 (plurality)). By choosing statues for
display, the District was speaking for itself, not regulating private speech.
The government “may run museums, libraries, television and radio stations,
primary and secondary schools, and universities,” and “[i]n all such
activities, the government engages in the type of viewpoint discrimination
that would be unconstitutional if it were acting as a regulator of private
speech.” Id. at 29 (citation omitted).
       Finally, consider ALA itself. The plurality squarely rejected the notion
that a library’s collection is a public forum. “A public library does not acquire
Internet terminals in order to create a public forum,” the plurality explained,
“any more than it collects books in order to provide a public forum for the
authors of books to speak.” ALA, 539 U.S. at 206 (plurality). We have
followed ALA on this point. See Chiras, 432 F.3d at 614 (relying on ALA for
proposition that neither forum analysis nor heightened scrutiny apply to
libraries’ collection decisions) (citing ALA, 539 U.S. at 205 (plurality)).
       In sum, neither law nor logic supports the notion that a public library’s
book collection is a public forum. This reinforces the conclusion that a
library’s collection decisions are government speech and not the regulation
of private speech.




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        C. Shurtleff factors
        In en banc briefing, the parties raised additional arguments about
government speech under Shurtleff v. City of Bos., 596 U.S. 243 (2022). In
that case, the City of Boston allowed private parties to fly flags of their
choosing on the city flagpole. The Supreme Court held the City was not
engaging in government speech but instead had created a limited public
forum. Id. at 248. As a result, the City could not refuse a group’s request to
fly a “Christian flag” because that would constitute viewpoint
discrimination. Ibid.
        In deciding the program was not government speech, the Court
considered certain kinds of evidence: “[1] the history of the expression at
issue; [2] the public’s likely perception as to who (the government or a
private person) is speaking; [3] and the extent to which the government has
actively shaped or controlled the expression.” Id. at 252 (brackets added)
(citing Walker, 576 U.S. at 209–214).
        All three factors support the conclusion that a library’s choice of the
books on its shelves is government speech. We consider each in turn.46
                1. History of the expression
        Public libraries, in the modern sense, arose in the United States in the
mid-19th century. See generally Jesse H. Shera, Foundations of
the      American          Public        Library         (1949);    Joeckel,         The
Government of the American Public Library (1935). Their


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           The dissenting opinion’s entire response to this nine-page analysis is to cite a
sister-circuit case and peremptorily assert that “none of [the Shurtleff] factors supports a
conclusion that library book removals constitute government speech.” Dissent at 23 n.14
(citing Reynolds, 114 F.4th at 667–68).




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earliest precursors were private religious libraries, which consisted mostly of
the Bible and theological works.47
        These were followed by “social libraries,” where private individuals
contributed funds to buy books. Shera at 59. The first was founded by
Benjamin Franklin in 1731. See Michael H. Harris, History of
Libraries in the Western World, 184 (1995). Such ventures,
hundreds of which were chartered by the colonies, had the purpose of
“propagat[ing] ‘virtue, knowledge, and useful learning.’” Shera at 59–60
(discussing 1747 charter of the Redwood Library Company of Newport).48
Their largely theological collections were privately endowed but available to
the public. See id. at 25, 29, 102–06.
        Around the same time there arose “circulating libraries,” which were
privately-owned and subscription-based. See David Kaser, A Book
for Sixpence: The Circulating Library in America (1980).
In contrast to social libraries, circulating libraries tended to have a larger
share of popular novels. Id. at 86; Shera at 222–23.
        By the mid-19th century, several municipalities had created “public”
libraries, funded and controlled by the government and meant to strengthen
the educational mission of social libraries. See Joeckel at 24; see also id. at
15 (discussing 1833 “free circulating library” of Petersborough, New

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          See Shera at 20 (discussing founding of religious libraries by Captain Robert
Keanye in the mid-17th century and Rev. Thomas Bray in the late-17th century).
        48
             See id. at 238 (quoting 1771 constitution of the Social Library of Salisbury,
Connecticut that library existed for the “promotion of Virtue, Education, and Learning and
. . . the discouragement of Vice and Immorality”); see also Harris at 187 (1995) (“The
nation’s social libraries were generally promoted as serious sources of knowledge for those
who desired to improve themselves. They did not, at least openly, cater to the public taste
for romance and popular fiction, choosing instead to purchase only the best nonfiction and
some few classic works of fiction.”).




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Hampshire). Their collections were curated to foster education and virtue.
Shera at 222–25.49 Similarly, the first municipal public library recognized
by state statute, the 1848 Boston Public Library, was considered by its Board
of Trustees to be “the means of completing our system of public education.”
Joeckel at 17; Shera at 175.
        In light of public libraries’ avowed educational mission, content
selection was critical. For instance, by 1834, the Petersborough Town
Library’s collection consisted overwhelmingly of historical, biographical, and
theological works. Shera at 166. Novels, despite their popularity, occupied
a mere 2% of the collection. Ibid. This was no accident: many educators,
echoing Thomas Jefferson, found novels “poison[ous]” and “trashy.” Id. at
222–23; Kaser at 88–90.
        The same was true of state libraries. New York’s 1835 library law,
establishing the first statewide tax-supported library, considered the public
library an “educational agency” and charged the state superintendent with
creating lists of suitable books. Joeckel at 9, 12; see also Shera at 183–84
(discussing subsequent creation of statewide library systems in Connecticut,
Rhode Island, Michigan, Iowa, Indiana, Ohio, and Wisconsin). Collections
weeded books promoting “improper” morality, with the result that fiction
was mostly excluded. See Kaser at 88 (discussing Horace Mann’s views on
social ills caused by novels). So, for instance, in 1851 Representative John
Wight urged Massachusetts to establish public libraries to “promot[e] virtue,




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          See also id. at 168 (observing that the Rev. Abiel Abbot, the Petersborough library
chairman, viewed the library “as a factor in public education and in the spread of knowledge
and virtue among his people”).




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reform . . . vice, increase . . . morality,” and “diminish[] the circulation of
low and immoral publications.” Shera at 239.50
        The lesson from this historical sketch is obvious: by shaping their
collections, public libraries were speaking, loudly and clearly, to their
patrons. “These books will educate and edify you. But the books we have
kept off the shelves—trashy novels, for instance—aren’t worth your time.”
Patrons might have disagreed; maybe they wanted to read Madame Bovary
(1856) or The Woman in White (1859). Be that as it may, the public library’s
view on edifying literature was quintessential government speech.
        Today, public libraries convey the same message to the reading public.
True, the message’s content has changed: what today’s Library Board thinks
is worth reading is likely not what the Petersborough Town Council thought
in 1833 nor the Massachusetts Legislature in 1851. But governments—
through those who curate collections—still propose which books, in their
view, merit the public’s attention. They do so through the unsubtle act of
including some books and excluding others.
        Just take a look at the 2012 Texas State Library “CREW”51 guide. See
generally CREW: A Weeding Manual for Modern Libraries

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            See also Harris at 247 (“Public library philosophy up through the 19th century
was characterized by a decidedly authoritarian and missionary cast. Justin Winsor, who
served as President of the American Library Association for the first ten years of its
existence, clearly stated this thrust when he noted that the public library could be wielded
as a ‘great engine’ for ‘good or evil’ among the ‘masses of the people.’”); Sidney
Herbert Ditzion, Arsenals of a Democratic Culture: A Social
History of the American Public Library Movement in New England
and the Middle States from 1850 to 1900, 87 (1947) (“The public library
moreover offered as its primary contribution the shaping of unformed and of ill-formed
tastes in things cultural.”).
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         As previously noted, “CREW” stands for Continuous Review, Evaluation, and
Weeding. The CREW guide is available online at: https://perma.cc/PH33-HR2R.




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(Texas State Library & Archives Comm’n 2012). This is the official guide to
curating collections in Texas libraries. The practice of weeding and the
CREW guide are discussed extensively by the plaintiffs and their amici.52
Surprisingly, though, plaintiffs portray weeding as entirely non-ideological.
They claim weeding is based on “neutral criteria” and “more akin to
maintenance work than intentional control of the specific content made
available to the public.” Appellees’ Supp. Br. at 30–31.53
        But the CREW guide shows the opposite is true. Public libraries are
told to weed the following:
       “[B]iased, racist, or sexist terminology or views.”
       “[S]tereotypical images and views of people with disabilities and
        the elderly, or gender and racial biases.”
       “[O]utdated philosophies on ethics and moral values.”
       “[B]ooks on marriage, family life, and sexuality . . . [are] usually
        outdated within five years.”
       “[B]ooks with outdated [political] ideas.”
       “[B]iased or unbalanced and inflammatory items [about immigra-
        tion].”
       “[O]utdated ideas about gender roles in childrearing.”
       “Art histories . . . [with] cultural, racial, and gender biases.”


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          See Appellees’ Supp. Br. at 30–31; Brief for Amici Freedom to Read Found. et
al. as Amici Curiae, at 8–9 & n.27.
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          Similarly, amici Freedom to Read, the Texas Library Association, and the
American Library Association assert that “[w]eeding is not the removal of books that, in
the view of government officials, contain ‘inappropriate’ ideas or viewpoints” and is not
“a deselection tool for controversial materials.” Brief for Freedom to Read Found. et al. as
Amici Curiae at 8–9. These statements are flatly contradicted by the parts of the CREW
guide quoted below. They are also contradicted by the ALA’s own weeding guide.




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       “[Children’s] books that reflect racial and gender bias” or have
        “erroneous and dangerous information.”
CREW at 19, 33, 63, 64, 65, 73, 76, 77, 81, 82.
        Similarly, the American Library Association also advises librarians to
remove “items reflecting stereotypes or outdated thinking; items that do not
reflect diversity or inclusion; [and] items that promote cultural
misrepresentation.” See Vnuk at 6; see supra III.B (discussing ALA
weeding handbook). For instance, the handbook’s chapter on “Diversity and
Inclusion” warns librarians that “children’s books have overwhelmingly
featured white faces” and encourages them to include works that “represent
diverse people of different cultures, ethnicities, gender identities, physical
abilities, races, religions, and sexual orientation.” Vnuk at 105. More
specifically, it advises that it is “basic collection maintenance” to
“[r]emov[e] the Dr. Seuss books that are purposefully no longer published
due to their racist content.” Id. at 106.54
        This guidance would be right at home in 1850s Massachusetts. See
Shera at 239 (recounting Rep. Wight’s 1851 argument that libraries would
“diminish[] the circulation of low and immoral publications”). To be sure,
today’s librarian may have a different idea of what constitutes a “low and
immoral publication.” But the song remains the same: officials, both in 1851
and 2024, are telling the public which books will “promote virtue, reform
vice, [and] increase morality.” Ibid. (cleaned up). In 1851, that might have
been John Marshall’s The Life of George Washington. See id. at 166. Today, it
might be It’s Perfectly Normal or Freakboy. See Little, 103 F.4th at 1162 n.8



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          See Oliver v. Arnold, 3 F.4th 152, 165 (5th Cir. 2021) (Duncan, J., dissenting)
(discussing controversies over certain Dr. Seuss books).




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(Duncan, J., dissenting). Either way, the public library’s judgment is 100-
proof government speech.55
                 2. Public perception
        Shurtleff next “consider[ed] whether the public would tend to view
the speech at issue as the government’s.” 596 U.S. at 255. The answer is yes.
        The 18 amici States get this exactly right: “People know that publicly
employed librarians, not patrons, select library materials for a purpose.”
Brief for 18 States as Amici Curiae at 9. Indeed, that is a matter of Texas law.
See Little, 103 F.4th at 1177 (Duncan, J., dissenting) (under Texas law, the
public librarian “shall determine which books . . . will be purchased,” subject
to “the general supervision of the commissioners court” (quoting Tex.
Loc. Gov’t Code §§ 323.005(c), 323.006)).
        Or look at it this way: suppose a patron walks into the Llano County
Public Library looking for Stephen King’s Salem’s Lot. It’s nowhere to be
found. In fact, he’s told that the library stocks none of King’s books because
they are morbid trash. Annoyed, the patron wants to lodge a complaint.
Question: should he address his complaint to (a) the Library Board; (b) other
patrons; or (c) Stephen King? Answer: (a). Any reasonable library patron
would grasp this instantly.

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            Plaintiffs’ arguments on Shurtleff’s first factor miss the mark. First, they suggest
libraries have historically provided “equal opportunity of access to information.” What
“equal opportunity” meant, however, was that all patrons should have equal access to
libraries, not that all ideas should be featured on library shelves. See, e.g., ALA Library
Bill of Rights (“Books and other library resources should be provided for the interest,
information, and enlightenment of all people of the community the library serves.”).
Second, plaintiffs point out that Llano County’s own policy denies “endorsement” of any
author’s “viewpoint.” This again mistakes the nature of the library’s expression, which
lies not in the words of the books themselves but in the library’s crafting its collection by
choosing certain books. See PETA, 414 F.3d at 28.




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        And yet the Eighth Circuit recently reached a different conclusion. In
GLBT Youth in Iowa Schools Task Force v. Reynolds, the court ruled that the
public would not “view the placement and removal of books in public school
libraries as the government speaking.” 114 F.4th 660, 668 (8th Cir. 2024).
The panel’s reasoning? Given the variety of books on the shelves, if the
government were the one speaking, it would be “babbling prodigiously and
incoherently.” Ibid. (quoting Matal, 582 U.S. at 236).56 Unfortunately, we
must disagree with our colleagues.
        To begin with, the Eighth Circuit misunderstood the government
“speech” at issue. It is not “the words of the library books themselves.”
Little, 103 F.4th at 1182 (Duncan, J., dissenting). No one even claims that. As
the D.C. Circuit pointed out nearly 20 years ago in PETA, “[t]hose who
check out a Tolstoy or Dickens novel would not suppose that they will be
reading a government message.” PETA, 414 F.3d at 28. A library that
includes Mein Kampf on its shelves is not proclaiming “Heil Hitler!” Rather,
“the government speaks through its selection of which books to put on the
shelves and which books to exclude.” Ibid. (emphasis added); see also Little,
104 F.4th at 1182 (Duncan, J., dissenting) (noting “the distinction between
government and private speech at work here”).
        The Eighth Circuit also misapplied Summum. As discussed, there the
City conveyed its own message by displaying the donated monuments it
chose. See supra III.A. The city’s message was its selection and display of the
monuments, not the monuments themselves.57 That maps precisely onto a

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          We have already explained why Matal has no bearing on whether a library’s
curation decisions are government speech. See supra IV.A.3.
        57
           See 555 U.S. at 476 (“By accepting a privately donated monument and placing it
on city property, a city engages in expressive conduct” and “does not necessarily endorse
the specific meaning that any particular donor sees in the monument.”).




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library collection: the library conveys its own message (which books are worth
reading) by collecting third-party speech (books). But the Eighth Circuit’s
reasoning makes Summum impossible: the only “speech” the court saw was
by the books’ authors, not the library’s choosing some books over others. By
that reasoning, when the City of Pleasant Grove displayed the Ten
Commandments, it was speaking as God.
        Once the nature of the “speech” is clarified, the answer to Shurtleff’s
second question is as clear as a summer sky. As the previous section
explained, the expressive activity at issue is choosing some books and
presenting them as worthwhile literature. It is the public library—the
government—who conveys that message, nobody else. See, e.g., Katz at 111
(“Specifically, the head librarian is charged with selection. The librarian is
responsible to a board, committee, president, mayor, or principal who must
take legal responsibility for problems that arise from selection.”).
                3. Extent of government control
        The answer to Shurtleff’s third question—“the extent to which the
government has actively shaped or controlled the expression,” 596 U.S. at
252—follows from the first question. As explained, literally from the moment
they arose in the mid-19th century, public libraries have been shaping their
collections for specific educational, civic, and moral purposes. They still do
today. See supra IV.C.1; see also CREW at 65 (calling for weeding “biased
or unbalanced and inflammatory items” relating to “immigration and
citizenship”); id. at 73 (“Weed books that reflect outdated ideas about
gender roles in childrearing.”); id. at 82 (“Do not retain [young adult] books
that have erroneous and dangerous information[.]”).58

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          The Eighth Circuit went astray by asking narrowly whether the government had
previously “asserted extensive control over removing books.” Reynolds, 114 F.4th at 668.




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        In sum, all three of Shurtleff’s questions point to one answer: “a public
library’s selection of some books, and its rejection of others, constitutes
government speech.” Little, 103 F.4th at 1181–82 (Duncan, J., dissenting).
        D. Library collection decisions are government speech.
        We hold that a public library’s collection decisions are government
speech. This follows from (1) precedents teaching that a speaker, including a
government speaker, engages in expressive activity by selecting and
presenting a curated collection of third-party speech; (2) the conclusion that
a library’s collection is not a public forum; and (3) application of the Shurtleff
factors, which show that libraries’ collection decisions have traditionally
expressed libraries’ own views about what constitutes worthwhile literature.
        Because defendants’ decision to remove the 17 books is government
speech, that decision is not subject to challenge under the Free Speech
Clause.59 Plaintiffs’ Free Speech claims must therefore be dismissed.




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But Shurtleff asks more broadly about “the extent to which the government”—i.e., a public
library—“has actively shaped or controlled the expression”—i.e., the content of their own
collections. Shurtleff, 596 U.S. at 252. The answer to that question is quite obviously yes.
See supra IV.C.1.
        59
          We express no opinion on whether a public library’s removal of books can be
challenged under other parts of the Constitution. See, e.g., Summum, 555 U.S. at 468
(observing there may be other “restraints on government speech,” such as the
Establishment Clause).




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                              CONCLUSION
       We REVERSE the preliminary injunction, RENDER judgment
dismissing plaintiffs’ Free Speech claims, and REMAND for further
proceedings consistent with this opinion.60




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           Defendants’ pending motion to dismiss the appeal as moot with respect to
former library advisory board members Bonnie Wallace, Rochelle Wells, Rhonda
Schneider, and Gay Baskin is GRANTED. Defendants’ pending motion to correct the
case caption is DENIED AS UNNECESSARY.




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James C. Ho, Circuit Judge, concurring:
       The Constitution protects “the freedom of speech.” U.S. Const.
amend. I. That freedom ensures that citizens are free to speak—not that we
may force others to respond. It’s the First Amendment, not FOIA.
       So “[t]here is . . . no basis for the claim that the First Amendment
compels others—private persons or government—to supply information.”
Houchins v. KQED, Inc., 438 U.S. 1, 11 (1978) (plurality op. of Burger, C.J.).
The Supreme Court “has never intimated a First Amendment guarantee of
a right of access to all sources of information within government control.”
Id. at 9. “The First and Fourteenth Amendments do not guarantee the public
a right of access to information generated or controlled by government.” Id.
at 16 (Stewart, J., concurring).
       Our Founders enacted a charter of negative liberties. “[L]iberty in
the eighteenth century was thought of much more in relation to ‘negative
liberty’; that is, freedom from, not freedom to.” John Phillip Reid, The
Concept of Liberty in the Age of the American
Revolution 56 (1988).
       I alluded to this dichotomy between negative and positive rights in my
dissent in Villarreal v. City of Laredo, 94 F.4th 374 (5th Cir. 2024). I noted
that, when it comes to the First Amendment rights of citizens to question
their government, “[t]he government may not answer . . . but the citizen gets to
ask.” Id. at 409 (emphasis added).
       I recognize (and regret) that the right to ask questions was not
vindicated in that case. This is not the place to relitigate that loss.
       I only bring up Villarreal because I don’t get how you can vote for Leila
Little, but not Priscilla Villarreal. I don’t get how some of the dissenters can
indulge Little’s insistence that the government provide her with certain
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sexual and other content—yet voice zero support for Villareal’s right to
merely ask the government about its operations. I don’t see how the person
who gets jailed for merely requesting information loses—while the person
who demands information wins. That doesn’t just get the First Amendment
wrong—it gets it entirely backwards. See generally Gonzalez v. Trevino, 60
F.4th 906, 911–12 (5th Cir. 2023) (Ho, J., dissenting from denial of rehearing
en banc).
       So I share the majority’s “dismay” at the “unusually over-caffeinated
arguments” made in this case. Ante, at 4. When members of the court
disparage our decision today for “join[ing] the book burners,” it reminds me
of how members of the court disparaged our decision in Oliver v. Arnold, 19
F.4th 843 (5th Cir. 2021), for banning homework and classroom assignments
in public schools. See id. at 848–49 (Ho, J., concurring in the denial of
rehearing en banc) (rebutting such arguments). Our decision today doesn’t
burn books any more than our decision in Oliver banned homework.
       But it’s especially striking to compare the rhetoric today to the votes
in Villarreal. I heartily agree with the dissent that “[t]he free exchange of
ideas lies at the foundation of free government by free men.” What I don’t
get is why that means the government must pay for Little’s ideas—while
Villarreal must pay for her ideas with jail time. The First Amendment should
protect Villarreal’s negative rights—not Little’s affirmative claims.
                                      I.
       The fundamental distinction between negative and positive rights is
essential to a proper understanding of the First Amendment.
       Consider how the law treats public museums. It’s well understood
that you have no First Amendment claim just because a public museum
won’t feature the art or exhibit you wish to view. That’s because, as today’s
en banc majority opinion explains, when a government funds and operates a




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museum, it necessarily acts as a curator for the public’s benefit—and there
is no First Amendment claim when the government is curating, not
regulating.
       So a public museum “may decide to display busts of Union Army
generals of the Civil War, or the curator may decide to exhibit only busts of
Confederate generals. The First Amendment has nothing to do with such
choices.” PETA v. Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005). See also, e.g.,
Pulphus v. Ayers, 249 F. Supp. 3d 238, 254 (D.D.C. 2017) (rejecting First
Amendment claim by an artist challenging the removal of his painting from a
Congressional art competition); Raven v. Sajet, 334 F. Supp. 3d 22, 25
(D.D.C. 2018) (rejecting First Amendment claim to require display of a
portrait of the then-President-Elect at the National Portrait Gallery).
       That should end this case, because I see no principled First
Amendment distinction between public museums and public libraries. See,
e.g., PETA, 414 F.3d at 29 (“[The government] may run museums, libraries,
television and radio stations. . . . In all such activities, the government
engages in the type of viewpoint discrimination that would be
unconstitutional if it were acting as a regulator of private speech.”).
       And neither do Plaintiffs. During oral argument, counsel for Plaintiffs
was given repeated opportunities to draw a distinction between public
museums and public libraries for purposes of First Amendment analysis.
They repeatedly declined to do so. See Oral Arg. at 43:45–46:43. They
didn’t, because they can’t.
                                      II.
       The dissent appears to accept that the freedom of speech embodies
negative, not positive, rights. The dissent focuses instead on a different
distinction. It theorizes that the First Amendment does not require a public
library to buy certain books—but it does forbid a public library from removing




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them, having already bought them. As the dissent puts it, it’s “not an
affirmative right to demand access to particular materials,” but rather “a
negative right against government censorship.” Post, at _ (Higginson, J.,
dissenting). So “[t]he First Amendment does not require Llano County
either to buy and shelve . . . or to keep [certain books]; but it does prohibit
Llano County from removing [them].” Id.
       But I confess that I have trouble locating in the First Amendment a
distinction between refusing to purchase certain books (which the dissent
would allow) and removing them (which the dissent would condemn).
       Consider how we would treat the proposed distinction in other
constitutional contexts.      Does the Fourteenth Amendment allow a
government agency to refuse to hire people based on their race—just so long
as they don’t fire people based on their race? Does the Free Exercise Clause
permit a public park to exclude all Christians from entry—it just can’t kick
them out once they’ve been let in? Obviously not. No one would draw those
distinctions.   And the same logic should apply here.              If viewpoint
discrimination is forbidden, then viewpoint discrimination is forbidden.
       So it’s not surprising that Plaintiffs appear to concede that they would
forbid public libraries from refusing to purchase as well as remove certain
books. See Oral Arg. at 42:55–43:30.
       I also wonder about the workability of the proposed distinction.
Imagine that someone donates their book collection to a local library upon
their death. But it turns out that the collection contains some of the material
at issue in this case. So the library declines to accept those particular items.
Is that refusing to purchase (and therefore permitted)? Or is that removing
(and therefore forbidden)? Suppose the entire book collection has already
been boxed up, so the estate administrator tells the librarian to either take the
entire collection or refuse it whole. So the librarian can’t accept custody of




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certain books while declining others—it can only remove those books after
accepting them. Does that make a difference? Why should it?
       It seems more principled to me to conclude that the First Amendment
permits all of this, because like public museums, public libraries have to make
decisions about which materials to include in, and exclude from, their
collections. I’m sure we could all find ways to quibble with how a particular
library or museum curates their collections. But curators are not regulators.
And I have difficulty determining which curating decisions are subject to
scrutiny, and which are exempt, consistent with the text and original
understanding of the First Amendment.
                                     ***
       Plaintiffs have a First Amendment right to read books. They don’t
have a First Amendment right to force a public library to provide them. So I
agree that we should reverse, and accordingly concur.




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Stephen A. Higginson, Circuit Judge, joined by Wiener,
Stewart, Southwick, Graves, Douglas, and Ramirez, Circuit
Judges, dissenting:
        The free exchange of ideas “lies at the foundation of free government
by free men.” Schneider v. Town of Irvington, 308 U.S. 147, 161 (1939). As
Thomas Jefferson observed, “wherever the people are well informed they
can be trusted with their own government.”1 Letter from Thomas Jefferson
to Richard Price (Jan. 8, 1789), https://www.loc.gov/exhibits/jefferson/-
60.html. Public libraries have long kept the people well informed by giving
them access to works expressing a broad range of information and ideas. But
this case concerns the politically motivated removal of books from the Llano
County public library system by government officials in order to deny public
access to disfavored ideas.2 In an effort to ratify this official abridgment of
free speech, the majority overturns decades of settled First Amendment law,
disparaging its free speech protections as a “nightmare” to apply. Ante, at 2.



        _____________________
        1
           George Washington made the same point more starkly: “[T]he freedom of
Speech may be taken away, and, dumb & silent we may be led, like sheep, to the Slaughter.”
George Washington, Address to Officers of the Army (Mar. 15, 1783) (transcript available
at https://founders.archives.gov/documents/Washington/99-01-02-10840).
        2
          The seventeen books at issue are: Caste: The Origins of Our Discontents by Isabel
Wilkerson; They Called Themselves the K.K.K.: The Birth of an American Terrorist Group by
Susan Campbell Bartoletti; Spinning by Tillie Walden; Being Jazz: My Life as a
(Transgender) Teen by Jazz Jennings; Shine by Lauren Myracle; Under the Moon: A
Catwoman Tale by Lauren Myracle; Gabi, a Girl in Pieces by Isabel Quintero; Freakboy by
Kristin Elizabeth Clark; In the Night Kitchen by Maurice Sendak; It’s Perfectly Normal:
Changing Bodies, Growing Up, Sex and Sexual Health by Robie H. Harris and Michael
Emberley; My Butt Is So Noisy! by Dawn McMillan; I Broke My Butt! by Dawn McMillan;
I Need a New Butt! by Dawn McMillan; Larry the Farting Leprechaun by Jane Bexley; Gary
the Goose and His Gas on the Loose by Jane Bexley; Freddie the Farting Snowman by Jane
Bexley; and Harvey the Heart Had Too Many Farts by Jane Bexley.
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Because the majority forsakes core First Amendment principles and
controlling Supreme Court law, I dissent.
                                            I
        In recounting the background of this case, the majority opinion omits
material facts, particularly those concerning how and why the seventeen
books at issue were removed from the Llano County library system. This is
significant because the district court found that the removals were likely
motivated by political censorship, and we disturb such findings of fact only
when the district court has committed clear error. See ante, at 12 (citing
United States v. Abbott, 110 F.4th 700, 708 (5th Cir. 2024) (en banc)).
        In the summer of 2021, a group of community members began
working to remove specific children’s books that they deemed inappropriate
from the Llano County library system, starting with what the parties call the
“butt and fart books.”3 Defendant Amber Milum, the Llano County Library
System Director, had ordered the books for the library system because she
thought they would be appropriate and entertaining for children, based on
her training as a librarian, the books’ positive reviews, and the library’s
selection criteria.      Former Defendants4 Rochelle Wells and Rhonda
        _____________________
        3
         There are three “butt books” (My Butt is So Noisy!, I Broke My Butt!, and I Need
a New Butt!) and four “fart books” (Larry the Farting Leprechaun, Gary the Goose and His
Gas on the Loose, Freddie the Farting Snowman, and Harvey the Heart Had Too Many Farts).
        4
            Plaintiffs sued Rochelle Wells, Rhonda Schneider, Bonnie Wallace, and Gay
Baskin in their official capacities as members of the Llano County Library Board. After our
en banc court heard oral argument in this appeal, Defendants moved to dismiss as moot the
claims against Wells, Schneider, Wallace, and Baskin because their respective terms on the
Board had expired, along with those of the Board’s other members, and because Llano
County had decided not to appoint or reappoint anyone to the Board during the pendency
of this litigation. Plaintiffs opposed the motion, arguing that Defendants cannot moot any
of Plaintiffs’ claims through voluntary cessation of these Board positions and highlighting
that Llano County may immediately fill the vacant Board positions—including by
reappointing the former Board members—once this litigation concludes. Because the




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Schneider—who were, at the time, private citizens—checked the books out
of the libraries continually to keep them off the shelves and inaccessible to
other patrons.      Wells asked Llano County officials and library staff—
including Director Milum and Defendants Ron Cunningham (Llano County
Judge) and Jerry Don Moss (Llano County Commissioner)5—to remove the
books from the library system altogether. In response to these complaints,
Judge Cunningham and Commissioner Moss directed Director Milum to
remove the “butt and fart” books from the shelves, which she did.
        At some point in the fall, Commissioner Moss came into the Llano
Library to see Martina Castelan, the head librarian, who had previously
served as the children’s librarian. Commissioner Moss asked to see the
“worst possible book that [Head Librarian Castelan] thought [the library]
had on the shelves in the children’s section.” Although Head Librarian
Castelan did not view any of the books in the children’s section as
inappropriate, she concluded, based on complaints they had received about
“grooming” in the “[b]utt books,” that Commissioner Moss was looking for
similar material. Head Librarian Castelan showed Commissioner Moss the
“potty training/puberty, maturity books,” including the book It’s Perfectly
Normal, which Castelan described as “a general health book . . . for children
10 to 12” that “explores all versions and all aspects of puberty” and that
includes “illustrations of adults in adult situations” in “one section of the
book.” According to Castelan, Commissioner Moss was “taken aback” by
the book and told Castelan that he would not have wanted his children or
        _____________________
majority grants Defendants’ motion, ante, at 55 n.60, I refer to Wells, Schneider, Wallace,
and Baskin as “former Defendants,” where appropriate.
        5
         Moss is one of the Commissioners of the Llano County Commissioners Court,
which oversees the Llano County library system and is led by Judge Cunningham. Director
Milum testified that the Judge and the Commissioners of the Commissioners Court are her
employers.




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grandchildren to read it. The book was later removed from the library by
Director Milum, who acknowledged that she pulled the book for review
based, at least in part, on the public controversy regarding the content of
books in the library system.
       Around the same time, Matt Krause, a member of the Texas House of
Representatives, circulated to “Selected Superintendents” of Texas school
districts a sixteen-page list of books allegedly “address[ing] or contain[ing]”
topics such as:
       human sexuality, sexually transmitted diseases, or human
       immunodeficiency virus (HIV) or acquired immune deficiency
       syndrome (AIDS), sexually explicit images, graphic
       presentations of sexual behavior that is in violation of the law,
       or . . . material that might make students feel discomfort, guilt,
       anguish, or any other form of psychological distress because of
       their race or sex or convey that a student, by virtue of their race
       or sex, is inherently racist, sexist, or oppressive, whether
       consciously or unconsciously.
In early November, Wells and others divided up review of the Krause list to
“see if we have any [of] those books” in the Llano County public library
system.
       On November 8, Judge Cunningham directed Director Milum
“immediately” to remove “[a]ny books with photos of naked or sexual
conduct regardless if they are animated or actual photos . . . until further
notice” and to refrain from purchasing any additional books “until [they]
ha[d] a plan to move forward.” One of the books that Director Milum pulled
was the Caldecott-Medal-winning children’s picture book In the Night
Kitchen, which was included on the Krause list. Director Milum testified that
she pulled In the Night Kitchen based on “inappropriate content” because it
contained illustrations of a naked child. Director Milum further averred that
she decided to remove the book because it was “old and worn” and had not



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been checked out “very much,” but she also acknowledged that it “had been
checked out regularly,” and that there was no record of it being damaged. In
contrast, Head Librarian Castelan testified that even if they were to remove
In the Night Kitchen because it was worn, they “would have replaced it with
a newer copy” because it is a “classic.”
       On November 10, former Defendant Bonnie Wallace emailed Judge
Cunningham, providing him with a list of the books from the Krause list that
appeared in the Llano County library system and contending that
“pornographic filth ha[d] been discovered” at all three branches of the Llano
County library system. In response, Judge Cunningham again instructed
Director Milum that “any and all books that depict any type of sexual activity
or questionable nudity [be] pulled immediately,” including “books that are
available online,” and he further instructed her to advise him and
Commissioner Moss “when this task has been completed.”
       The next day, Wells emailed her group (including Commissioner
Moss) with “an update on the status of the books in the library”:
       Commissioner Moss and Judge Cunningham have instructed
       Amber [Milum], the head librarian, to remove certain books,
       both physical books and ebooks (via the LIBBY app). There
       will also be no new books coming in until this is settled. If you
       go into the library[,] you will see Amber [Milum] and [Martina
       Castelan] (Children’s librarian) are currently going through
       the Children’s section, labeling books, and I am assuming also
       removing the books Commissioner Moss has told them to
       remove. Amber was told to get rid of Lawn Boy and Gender
       Queer (physical and ebook). Commissioner Moss, we are very
       grateful for your help in this situation and all you have done to
       begin to remedy it!
She also noted that members of the group would be finishing their review of
“that 16-page list [issued by Krause] of CRT and LGBTQ book[s]” and




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would be “sending a list of the ones that are found to be inappropriate, along
with a summary, to Commissioner Moss.”
       Director Milum provided library staff with a version of this list that
she had edited to add additional information about each book—such as which
staff member had acquired the book and how often the book had been
checked out—and instructed staff to pull all of the listed books from the
shelves. At that time, the review was exclusively limited to Wallace’s list.
Among the listed books the librarians pulled for review were They Called
Themselves the K.K.K.: The Birth of an American Terrorist Group, Caste: The
Origins of Our Discontents, Freakboy, Shine, Spinning, Being Jazz: My Life as a
(Transgender) Teen, Gabi, a Girl in Pieces, and Under the Moon: A Catwoman
Tale, all of which Director Milum removed within a week of receiving the
Wallace list, despite not having read any of them herself.
       One librarian, Barbara Baker, refused to remove the books from the
Kingsland Branch and “told Ms. Milum that removing these books would be
censorship” and that Baker “believed that [Milum’s] order to remove books
was illegal.” Director Milum later terminated Baker for “insubordination,”
“creating a disturbance,” “violation of policies,” and “failure to follow
instructions.”
       In December 2021, the Commissioners Court voted to close all three
Llano County library branches for three days to allow the librarians to
“check[ their] shelves for ‘inappropriate’ books.”
       Director Milum thereafter directed library staff to review all of the
material in the children’s section of each branch to identify “inappropriate”
material, which she defined as “anything that pertained to nudity and
anything [the librarians] deemed inappropriate.” This review resulted in
hundreds of books being pulled from the shelves and placed on a cart in
Director Milum’s office for review.




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       In January 2022, the Commissioners Court voted to dissolve the
existing Library Advisory Board and to replace it with a new one. The
Commissioners voted to appoint numerous book removal advocates to the
new Library Advisory Board, including Wells, Schneider, and Wallace.
Thereafter, former Defendant Gay Baskin was elected President, Wallace
was elected Vice President, and Wells was elected Secretary of the new
Board. In an email dated January 19, 2022, Wells emailed Commissioner
Moss with minutes from a meeting of the new Board. According to Wells’s
minutes, Director Milum had attended the meeting as a “non-voting
member,” but the Board had “asked that she not be present at all meeting[s]
and just on an as-needed basis” and had noted that the meeting minutes
would be emailed to her afterward. Wells’s email to Commissioner Moss
also included a section introduced as “stuff not in the meeting notes,” in
which, among other things, she thanked Commissioner Moss for “making
[Milum] remove It’s Perfectly Normal” and requested that future meetings be
closed to all but appointed members of the Board, given that there had been
“three or four patrons present and taking notes.”
       A month later, Director Milum told Baker and other members of the
Llano County library staff that, “per Judge Cunningham,” they were barred
from attending the new Library Advisory Board meetings and specifically
were not allowed to use their vacation time to do so.
       At a meeting the next day, the Board stopped allowing comments from
the public, and shortly thereafter, the Board voted to close its meetings to the
public entirely.
       Plaintiffs filed suit in April of 2022 and moved for a preliminary
injunction the next month.
       In October of that year, the district court conducted a two-day
evidentiary hearing on Plaintiffs’ motion for a preliminary injunction, hearing




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testimony from Head Librarian Castelan, Director Milum, Judge
Cunningham, Commissioner Moss, Wells, Plaintiff Leila Little, and counsel
for Defendants.
       As discussed above, Director Milum generally acknowledged that the
seventeen books at issue in this case were pulled from the shelves based on
the community group’s and Llano officials’ directives to remove what they
saw as “inappropriate” material, though she further testified that the
ultimate decision to remove the books from the library’s collection was based
on standard justifications for weeding library books under the CREW
(Continuous Review Evaluation and Weeding) and MUSTIE (Misleading,
Ugly, Superseded, Trivial, Irrelevant, Easily Available Elsewhere)
guidelines.
       Conflictingly, Head Librarian Castelan—the only person, other than
Director Milum and the head librarians of the other branches, who was
allowed to weed materials—testified at length that most of Director Milum’s
removal decisions violated Llano County weeding guidelines. Specifically,
Castelan testified in detail that I Need a New Butt!, I Broke My Butt!, My Butt
Is So Noisy!, It’s Perfectly Normal, In the Night Kitchen, Shine, Spinning, Caste,
They Called Themselves the K.K.K., Gabi, a Girl in Pieces, and Under the Moon
were all removed in violation of the Llano County weeding policies. She
further testified that Being Jazz could have been removed appropriately
because it had not been checked out since 2017, but that she would not have
removed it because the Llano County library system only had one or two
books pertaining to the experience of being a transgender teenager. Castelan
testified that weeding Freakboy was consistent with the applicable guidelines
because it had only been checked out once in 2016 but noted that books are
typically weeded during the library’s annual weeding in August or for reasons
such as accidental damage.




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       Notably, Defendants declined to cross-examine Castelan.
       On this evidentiary record, the district court found that “the evidence
shows Defendants targeted and removed books, including well-regarded,
prize-winning books, based on complaints that the books were
inappropriate.”    Little v. Llano Cnty., No. 1:22-CV-424-RP, 2023 WL
2731089, at *9 (W.D. Tex. Mar. 30, 2023), aff’d as modified, 103 F.4th 1140
(5th Cir.), reh’g en banc granted, opinion vacated, 106 F.4th 426 (5th Cir.
2024). Highlighting critical pieces of evidence regarding the actions of
various Defendants including Wells, Wallace, Judge Cunningham,
Commissioner Moss, and Director Milum, the district court found that “by
responding so quickly and uncritically” to Wallace’s and Wells’s complaints,
the government actors “may be seen to have adopted Wallace’s and Wells’s
motivations.” Id. at *10. The court therefore found “that Plaintiffs have
clearly shown that Defendants’ decisions were likely motivated by a desire to
limit access to the viewpoints to which Wallace and Wells objected.” Id.
       The district court acknowledged Defendants’ argument that “any
cataloguing and removal that occurred was simply part of the library system’s
routine weeding process, for which Milum was ultimately responsible.” Id.;
see also id. at *11. But it held that Plaintiffs had “offered sufficient evidence
to suggest this post-hoc justification is pretextual,” id., and that the
evidence—including Director Milum’s own testimony—instead indicated
that the books Director Milum had reviewed and removed were books that
the community group or her superiors deemed inappropriate, “based on
people’s perception of their content or viewpoints.” Id. at *10; see also id. at
*11 (“Whether or not the books in fact qualified for ‘weeding’ under the
library’s existing policies, there is no real question that the targeted review
was directly prompted by complaints from patrons and county officials over
the contents of these titles.” (footnote omitted)).




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       Applying the Supreme Court’s public school library book removal
decision in Board of Education v. Pico, 457 U.S. 853 (1982), and our court’s
corresponding decision in Campbell v. St. Tammany Parish School Board, 64
F.3d 184 (5th Cir. 1995), the district court held “that Plaintiffs made a clear
showing that the ‘substantial motivation’ for Defendants[’] actions appears
to be discrimination, as opposed to mere weeding,” and therefore that
Plaintiffs demonstrated a substantial likelihood of success on the merits.
Little, 2023 WL 2731089, at *12. Further finding that Plaintiffs had met the
remaining requirements for a preliminary injunction, the district court
granted their motion. Id. at *13–14.
                                       II
       This case therefore presents a narrow issue: whether the district
court, after conducting a two-day evidentiary hearing, abused its discretion
by issuing a preliminary injunction on Plaintiffs’ motion. But a majority of
our court has rushed to sanctify government removal of public library books
by cutting off this case at the preliminary injunction stage, without identifying
any legal principle that can support its abridgment of the First Amendment.
                                       A
       By virtue of the Fourteenth Amendment, the First Amendment to the
Constitution commands that states “shall make no law . . . abridging the
freedom of speech.” U.S. Const. amend. I; 44 Liquormart, Inc. v. Rhode
Island, 517 U.S. 484, 489 n.1 (1996). The Supreme Court has long recognized
that the “right of freedom of speech . . . has broad scope,” reflecting the
Framers’ decision “to encourage a freedom which they believed essential if
vigorous enlightenment was ever to triumph over slothful ignorance.”
Martin v. City of Struthers, 319 U.S. 141, 143 (1943).
       As part of this broad free speech guarantee, the First Amendment
“necessarily protects the right to receive . . . information and ideas,




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regardless of their social worth,” which “is fundamental to our free society.”
Stanley v. Georgia, 394 U.S. 557, 564 (1969) (internal citations omitted); see
also Thomas v. Collins, 323 U.S. 516, 530 (1945) (“It is therefore in our
tradition to allow the widest room for discussion, the narrowest range for its
restriction . . . .”); id. at 534 (recognizing workers’ “right fully and freely to
discuss and be informed”); Lamont v. Postmaster Gen., 381 U.S. 301, 308
(1965) (Brennan, J., concurring) (“The dissemination of ideas can
accomplish nothing if otherwise willing addressees are not free to receive and
consider them.”). The government therefore “may not constitutionally []
abridge[]” “the right of the public to receive suitable access to social,
political, esthetic, moral, and other ideas and experiences.” Red Lion Broad.
Co. v. FCC, 395 U.S. 367, 390 (1969). The Supreme Court has recognized
this right across “a variety of contexts.” Kleindienst v. Mandel, 408 U.S. 753,
762–63 (1972); see also Va. State Bd. of Pharmacy v. Va. Citizens Consumer
Council, Inc., 425 U.S. 748, 757 (1976) (collecting cases). Relatedly, the
Court has emphasized that the “very purpose of a Bill of Rights was to
withdraw certain subjects from the vicissitudes of political controversy, to
place them beyond the reach of majorities and officials and to establish them
as legal principles to be applied by the courts.” W. Va. State Bd. of Educ. v.
Barnette, 319 U.S. 624, 638 (1943). “If there is any fixed star in our
constitutional constellation, it is that no official, high or petty, can prescribe
what shall be orthodox in politics, nationalism, religion, or other matters of
opinion.” Id. at 642.
       These twin principles—the right to receive information and the right
to be free from officially prescribed orthodoxy—are endorsed across the
Supreme Court’s spectrum of opinions in Pico. See, e.g., Pico, 457 U.S. at 866
(plurality opinion) (“[W]e have recognized that ‘the State may not,
consistently with the spirit of the First Amendment, contract the spectrum
of available knowledge.’” (quoting Griswold v. Connecticut, 381 U.S. 479, 482




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(1965))); id. at 870 (“[T]he First Amendment . . . does not tolerate laws that
cast a pall of orthodoxy over the classroom.” (quoting Keyishian v. Bd. of
Regents, 385 U.S. 589, 603 (1967))); id. at 879 (Blackmun, J., concurring in
part and concurring in the judgment) (“[O]ur precedents command the
conclusion that the State may not act to deny access to an idea simply because
state officials disapprove of that idea for partisan or political reasons.”); id.
at 907 (Rehnquist, J., joined by Burger, C.J., and Powell, J., dissenting)
(“cheerfully conced[ing]” that the school board’s discretion in selecting
materials for its libraries “may not be exercised in a narrowly partisan or
political manner” because “[o]ur Constitution does not permit the official
suppression of ideas” (quoting id. at 870–71 (plurality opinion))).
        Animated by these core principles, the four-Justice plurality6
explained:
        [W]hether petitioners’ removal of books from their school
        libraries denied respondents their First Amendment rights
        depends upon the motivation behind petitioners’ actions. If
        petitioners intended by their removal decision to deny
        respondents access to ideas with which petitioners disagreed,
        and if this intent was the decisive factor in petitioners’
        decision, then petitioners have exercised their discretion in
        violation of the Constitution.
Id. at 871 (plurality opinion) (footnote omitted). Justice Blackmun reiterated
this point in his separate concurrence: “[W]e strike a proper balance here by
holding that school officials may not remove books for the purpose of
restricting access to the political ideas or social perspectives discussed in
them, when that action is motivated simply by the officials’ disapproval of

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         Justice Brennan’s plurality opinion was joined fully by Justices Marshall and
Stevens. Justice Blackmun joined all of the plurality opinion except for Part (II)(A)(1).




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the ideas involved.” Id. at 879–90 (Blackmun, J., concurring in part and
concurring in the judgment).
       For more than forty years, these First Amendment principles have
guided courts around the country, including our own. In Campbell, a
unanimous panel of our court faithfully and efficiently applied Pico to hold
that “the key inquiry in a [school library] book removal case is the school
officials’ substantial motivation in arriving at the removal decision.” 64 F.3d
at 190 (Wiener, J., joined by Wisdom and King, JJ.).
       Similarly, the Third Circuit has concluded:
       Our review of the Supreme Court’s decisions confirms that the
       First Amendment does not merely prohibit the government
       from enacting laws that censor information, but additionally
       encompasses the positive right of public access to information
       and ideas. Pico signifies that, consistent with other First
       Amendment principles, the right to receive information is not
       unfettered and may give way to significant countervailing
       interests. At the threshold, however, this right, first
       recognized in Martin and refined in later First Amendment
       jurisprudence, includes the right to some level of access to a
       public library, the quintessential locus of the receipt of
       information.
Kreimer v. Bureau of Police, 958 F.2d 1242, 1255 (3rd Cir. 1992).
       Yet now, forty years after Pico, and thirty years after Campbell, our
court nullifies both. The majority insists through repetition, but little
analysis, that library patrons cannot possibly enjoy First Amendment
protections in the context of book removals because trying to enforce such
protection “would be a nightmare.” Ante, at 2; see also, e.g., id. at 2–3, 20–
22, 26. As a matter of common sense, it is simply untrue that the direction
provided by the Supreme Court in Pico, and applied by our court in Campbell,




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has been unworkable.7 Campbell itself identifies certain helpful facts for
distinguishing      between       constitutional       collection     management          and
unconstitutional denial of access to ideas:
        [W]e are moved to observe that, in light of the special role of
        the school library as a place where students may freely and
        voluntarily explore diverse topics, the School Board’s non-
        curricular decision to remove a book well after it had been
        placed in the public school libraries evokes the question
        whether that action might not be an unconstitutional attempt
        to “strangle the free mind at its source.” That possibility is
        reinforced by the summary judgment evidence indicating that
        many of the School Board members had not even read the book,
        or had read less than its entirety, before voting as they did . . . .
        Moreover, we note that the School Board’s failure to consider,
        much less adopt, the recommendation of the two previous
        committees to restrict the Book’s accessibility to eighth-
        graders with written parental permission but to leave the Book
        on the library shelf—in apparent disregard of its own outlined
        procedures—has the appearance of “the antithesis of those
        procedures that might tend to allay suspicions regarding [the
        School Board’s] motivations.”
Campbell, 64 F.3d at 190–91 (footnotes omitted) (first quoting Barnette, 319
U.S. at 637; and then quoting Pico, 457 U.S. at 875 (plurality opinion)).



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          The majority seems to suggest that, because “[o]ur court rarely cites Campbell
and has never applied it” until the instant case, it must not have provided useful guidance
for librarians to avoid controversy over book curation. Ante, at 27. However, that
conclusion does not follow logically from its premise. On the contrary, the lack of
substantial post-Campbell litigation suggests, if anything, that Campbell provides a workable
standard for libraries, and that it has done so for thirty years. It is commendable that
Campbell’s rule applying Pico avoids litigation, rather than engendering it. See, e.g., Antonin
Scalia, The Rule of Law as a Law of Rules, 56 U. Chi. L. Rev. 1175, 1179 (1989).




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        The Pico–Campbell standard has worked for decades—without
prompting significant litigation or accusations of federal court library
takeovers—and the majority’s legion of rhetorical questions does not
establish otherwise.8          Regardless, the mere fact that a question of
constitutional law may be difficult, or that First Amendment litigation, like
many bodies of law, tasks judges and jurors with discerning purpose or
motive, is hardly unexpected or menacing. All legal rules have their nuances
when applied to novel factual contexts, but it is our role to resolve those
complexities to the best of our abilities. We cannot shirk our responsibility
simply because some members of our court hypothesize that First
Amendment lines may be difficult to draw.
        For decades, the Supreme Court’s judgment in Pico—faithfully
applied by our court in Campbell—has prevented undue federal court
intervention in the operation of libraries. Nonetheless, our court today
discards the durable Pico decision as essentially meaningless, relying on a
footnote in Muir v. Alabama Educational Television Commission, 688 F.2d
1033 (Former 5th Cir. 1982) (en banc). But this effort to displace Supreme
Court law with reference to our court’s half-century-old dicta, in a footnote,
in an inapposite case, is itself misplaced. The court’s primary observation in
Muir was simply that Pico addressed a different issue than the one there, a
public television station’s decision not to broadcast a previously scheduled
program: “Pico is a case involving a constitutional attack upon the removal of

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           Nor do professions of disbelief. See, e.g., Little, 103 F.4th at 1159 (dissent) (“The
commission hanging in my office says ‘Judge,’ not ‘Librarian.’ Imagine my surprise, then,
to learn that my two esteemed colleagues have appointed themselves co-chairs of every
public library board across the Fifth Circuit.”); id. at 1160 (“Henceforth, these rules will
govern each and every public librarian in this circuit, each and every time she takes a book
out of circulation. And who will apply these rules? Federal judges, naturally. You’ve heard
of the Soup Nazi? Say hello to the Federal Library Police.” (footnote omitted)).




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books from a school library which, as discussed in the text, is quite different
from the situation confronting us.” Id. at 1045 n.30; see also id. (“[W]e
conclude that Pico is of no precedential value as to the application of the First
Amendment to these issues.” (emphasis added)); id. (“While the majority of
the Court entered judgment in Pico resulting in a remand for the development
of the record, this was necessarily based upon the status of the record and the
issues presented in the case. Here, we are satisfied that the record before us
adequately presents the issues.”); id. at 1045 (“School libraries are
distinguishable from broadcast stations in a number of important ways.”).9
The Muir decision had nothing to do with libraries, much less book removals,
and it predates our court’s straightforward, unanimous application of Pico in
the library book removal context in Campbell.
        It is correct that Justice White’s opinion in Pico is the narrowest
concurrence, ante, at 16, and therefore provides “the holding of the Court.”
Marks v. United States, 430 U.S. 188, 193 (1977) (quoting Gregg v. Georgia,


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           In obvious contrast, the facts of this case map closely onto the facts before the
Supreme Court in Pico, though in the more First Amendment-protective public library
context. In Pico, the high school library had removed nine books, including Slaughterhouse-
Five by Kurt Vonnegut, Jr., Best Short Stories by Negro Writers, edited by Langston Hughes,
and Black Boy by Richard Wright. Pico, 457 U.S. at 856 n.3. The school district’s
justification for removal was that the books were “anti-American, anti-Christian, anti-
Sem[i]tic, and just plain filthy.” Id. at 857; cf. Little, 2023 WL 2731089, at *10 (“Wallace
and Wells had contacted Defendants Cunningham and Moss with a list of books they
considered inappropriate, labeling them ‘pornographic filth’ and ‘CRT and LGBTQ
books’ and advocating for their removal and relocation.”). Steven Pico and four others, all
of whom were then students, challenged the decision, alleging that the books were removed
because “passages in the books offended [the Board of Education’s] social, political and
moral tastes and not because the books, taken as a whole, were lacking in educational
value.” Pico, 457 U.S. at 858–59; cf. Little, 2023 WL 2731089, at *7 (“[Plaintiffs] allege
that Defendants removed, ordered the removal, or pursued the removal of the books at
issue ‘because they disagree with their political viewpoints and dislike their subject
matter.’”).




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428 U.S. 153, 169 n.15 (1976) (plurality opinion)).10 But the majority is wrong
to suggest that Justice White’s opinion “said nothing about the First
Amendment.” See ante, at 16. On the contrary, Justice White’s opinion
confirms the same conclusion about the threshold First Amendment inquiry
as the Pico plurality, whose judgment Justice White joined: that determining
a state’s motivation is necessarily anterior to assessing whether a book
removal violates the First Amendment. Pico, 457 U.S. at 883 (White, J.,
concurring in the judgment) (expressing a preference for “findings of fact
and conclusions of law . . . made by the District Court” on the “unresolved
factual issue” of “the reason or reasons underlying the school board’s
removal of the books” prior to conclusively deciding the First Amendment
issues).
        Unlike the plurality, Justice White chose not to expound on what
motivation would withstand First Amendment scrutiny until after the district
court had conducted this fact-intensive motivation analysis at trial. But he
agreed with the plurality, affirming the Second Circuit, that the motivation
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           Marks itself was a First Amendment case that required the Court to determine
the import of the Court’s decision in another First Amendment case, Memoirs v.
Massachusetts, 383 U.S. 413 (1966). See Marks, 430 U.S. at 192–94. Like Pico, Memoirs
lacked any single opinion joined by a majority of the Court. See id. at 192. See generally
Memoirs, 383 U.S. 413 (including a three-Justice plurality opinion, a single-Justice
concurring opinion, concurrences without opinion in the judgment by two Justices based
on their dissents in prior cases, and three single-Justice dissenting opinions). The court of
appeals in Marks had “apparently concluded from this fact that Memoirs never became the
law.” Marks, 430 U.S. at 192. But the Supreme Court rejected this reasoning. Observing
that, in Memoirs, the three-Justice plurality opinion and the respective positions of the three
separately concurring Justices all reached the same result but applied different standards,
the Court in Marks held that the narrowest opinion (the plurality’s) “constituted the
holding of the Court and provided the governing standards.” Id. at 193–94. Marks
therefore offers us a timely reminder that it is critical to parse competing Supreme Court
opinions with great care and that First Amendment cases frequently present complex
questions with which courts must grapple without decrying them a “nightmare” to apply.
See ante, at 2.




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inquiry presented an issue of fact that was material to the constitutional
analysis, precluding summary judgment. That is the common denominator
between the plurality opinion and Justice White’s concurrence and,
therefore, it is Pico’s binding precedent.11 See Whole Woman’s Health v.
Paxton, 10 F.4th 430, 440 (5th Cir. 2021) (“We have clarified that [the Marks
rule] ‘is only workable where there is some common denominator upon
which all of the justices of the majority can agree.’” (quoting United States v.
Duron-Caldera, 737 F.3d 988, 994 n.4 (5th Cir. 2013))), abrogated on other
grounds by Dobbs v. Jackson Women’s Health Org., 597 U.S. 215 (2022).
Justice White’s opinion reflects the broad consensus that, while some—
likely most—motivations for removing library books may be constitutional,
some are not. Because the government’s motivation for removing a book is
a fact question, Justice White took the judicially restrained approach of
remanding for fact-finding prior to resolving the ultimate constitutional
analysis. Our court, as an inferior court, is bound by “the result” of a
Supreme Court case just as much as “those portions of the opinion” that
might be offered in its support. Seminole Tribe of Fla. v. Florida, 517 U.S. 44,
67 (1996). The “precise issue[]” of whether we may render a final judgment
rather than remanding has accordingly been resolved by the Supreme Court,
and we are not at liberty to “com[e] to opposite conclusions.” Mandel v.
Bradley, 432 U.S. 173, 176 (1977).



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          Accord Case v. Unified Sch. Dist. No. 233, 895 F. Supp. 1463, 1468 (D. Kan. 1995)
(“Justice White joined in the judgment, but preferred to put off announcing a legal rule
until the trial court determined why school officials removed the books. What clearly
emerges from the Pico decision is that the trial court must determine the motivation of the
school officials in removing the book. Five of the justices in Pico agreed that some
motivations would be unconstitutional.”); Crookshanks ex rel. C.C. v. Elizabeth Sch. Dist.,
No. 1:24-CV-03512-CNS-STV, 2025 WL 863544, at *10 (D. Colo. Mar. 19, 2025) (same).




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       Finally, even if we were to follow the majority’s approach and ignore
the substance of Justice White’s concurring opinion (which we plainly should
not), a majority of the Supreme Court in Pico firmly rejected the abnegation
of the First Amendment that our court adopts today. Four concurring
Justices made explicit that a library’s “discretion may not be exercised in a
narrowly partisan or political manner” because “[o]ur Constitution does not
permit the official suppression of ideas.” Pico, 457 U.S. at 870–71 (Brennan,
J., joined by Marshall, Stevens, and Blackmun, JJ.).          Crucially, three
dissenting Justices—led by then-Justice Rehnquist, who was joined by Chief
Justice Burger and Justice Powell—“cheerfully concede[d]” the same. Id. at
907 (Rehnquist, J., joined by Burger, C.J., and Powell, J., dissenting). And,
as noted, Justice Blackmun took pains to highlight Justice Rehnquist’s
“cheerful[] conce[ssion].” Id. at 877–78 (Blackmun, J., concurring in part
and concurring in the judgment). Our court today not only reaches a result
directly contrary to Pico, but also casts aside the reasoning of a supermajority
of the Court in the process.
                                       B
       It is the Supreme Court’s primary prerogative, not ours, to revisit and
modify its prior interpretations and applications of our Constitution. It is our
responsibility as an inferior court to study Supreme Court decisions closely
and to apply those decisions as faithfully as we can, regardless of whether
they are expansive or restrained. That is what our court did in Campbell. And
the Supreme Court is practiced at treading lightly, especially on
constitutional issues, especially where free speech rights are implicated, and
especially before exempting government action from First Amendment
constraint.
       Justice Brandeis explained in his celebrated concurrence in Ashwander
v. Tennessee Valley Authority, 297 U.S. 288 (1936), that “[t]he Court will not




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‘anticipate a question of constitutional law in advance of the necessity of
deciding it,’” nor “‘formulate a rule of constitutional law broader than is
required by the precise facts to which it is to be applied,’” id. at 346–47
(Brandeis, J., concurring) (quoting Liverpool, N.Y. & P.S.S. Co. v. Emigration
Comm’rs, 113 U.S. 33, 39 (1885)). In the ninety years since, judicial restraint
has remained a paramount principle in constitutional adjudication. See, e.g.,
Communist Party v. Subversive Activities Control Bd., 367 U.S. 1, 71–72 (1961)
(Frankfurter, J.) (“No rule of practice of this Court is better settled than
‘never to anticipate a question of constitutional law in advance of the
necessity of deciding it.’” (quoting Liverpool, 113 U.S. at 39)); Cox Broad.
Corp. v. Cohn, 420 U.S. 469, 510 (1975) (Rehnquist, J., dissenting) (quoting
Ashwander, 297 U.S. at 346–47 (Brandeis, J., concurring)); Wash. State
Grange v. Wash. State Republican Party, 552 U.S. 442, 450 (2008) (Thomas,
J.) (same); Kennedy v. Silas Mason Co., 334 U.S. 249, 257 (1948) (emphasizing
that “it [is] the part of good judicial administration to withhold decision of
the ultimate questions involved in this case until this or another record shall
present a more solid basis of findings”); In re Cao, 619 F.3d 410, 440 (5th Cir.
2010) (en banc) (Jones, J., concurring in part and dissenting in part) (“The
majority hardly need reminding of the cardinal principle of constitutional
adjudication that a court should address the case presented by the facts before
it rather than broad, hypothetical scenarios.” (citing Ashwander, 297 U.S. at
346–47 (Brandeis, J., concurring))).
       With Justice White’s concurrence, the Supreme Court’s thoughtfully
restrained judgment in Pico avoids constitutional conjecture, but it is no less
binding for that restraint. That the high Court’s careful judgment demanding
final fact-finding is neither vast nor renunciatory should not embolden the
United States Court of Appeals for the Fifth Circuit to proclaim it a nullity
and to sally forth ourselves against the First Amendment.




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        The authority to adjust Pico—whether to extend it further or to
change course—lies with the Supreme Court alone. Until that time, the
Court’s judgment in Pico requires us to permit the district court to adjudicate
conclusively whether Defendants’ substantial motivation for removing books
from the Llano County public library system was not to “weed” according to
routine, non-discriminatory considerations, such as inaccuracy or physical
damage,12 but rather to censor what Defendants deemed “inappropriate”
ideas and information. See Pico, 457 U.S. at 883–84 (White, J., concurring in
the judgment).
        In its effort to discard Pico, the majority seems to lose sight of the
question in front of us: whether the district court abused its discretion by
granting Plaintiffs’ motion for a preliminary injunction. Indeed, the majority
concedes by silence that the district court did not clearly err in finding that
Defendants’ removal decisions likely were motivated by discrimination
against certain ideas and a desire to limit access to those ideas, not just for
themselves, but for all others.13 Nonetheless, our court instead announces a
new abridgement of the First Amendment, holding that public library patrons
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           Rather than address the district court’s thorough fact finding as to Defendants’
motivations and actions in this case, the majority cites various library weeding guides and
hypothesizes that their guidance “is unmistakably viewpoint discrimination” and,
therefore, that it “cannot be the law” that this guidance violates the First Amendment
because the “First Amendment does not force public libraries to have a Flat Earth
Section.” Ante, at 23 (quoting Little, 103 F.4th at 1167 (dissent)). This analysis
misapprehends the issue by getting the constitutional analysis backward. If preexisting,
standardized weeding guidelines were ever used to justify the removal of books based on
official disapproval of a particular “idea for partisan or political reasons,” thereby
sanctioning “state discrimination between ideas,” Pico, 457 U.S. at 878–79 (Blackmun, J.,
concurring in part and concurring in the judgment), it is surely the unconstitutional
removal decisions that should be overturned, not the Constitution.
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           When testifying at the district court’s two-day evidentiary hearing, Director
Milum confirmed the important and intuitive point that “no parent has the authority in a
library system to control what somebody else’s children read.”




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may not challenge even politically motivated book removals. Hereafter
across Texas, Louisiana, and Mississippi, it simply does not matter legally if
public officials, motivated by political hostility, target and remove books they
deem inappropriate or offensive, in order to deny the public access to the
information and ideas therein. The majority’s holding therefore usurps the
judicial process at each end, arrogating to our court the district court’s
authority to adjudicate critical fact questions in the first instance (in
contravention of Pico), and also arrogating to ourselves the Supreme Court’s
sole authority to revisit its time-tested First Amendment jurisprudence.
                                           C
        Even more fundamentally, our court’s holding today is incompatible
with the “fixed star [of] our constitutional constellation” that “no official,
high or petty, can prescribe what shall be orthodox in politics, nationalism,
religion, or other matters of opinion.” Barnette, 319 U.S. at 642; see also id.
at 638 (“The very purpose of a Bill of Rights was to withdraw certain subjects
from the vicissitudes of political controversy . . . .”); Wollschlaeger v. Governor
of Fla., 848 F.3d 1293, 1327 (11th Cir. 2017) (en banc) (Pryor, J., concurring)
(“The First Amendment is a counter-majoritarian bulwark against
tyranny. . . . No person is always in the majority, and our Constitution places
out of reach of the tyranny of the majority the protections of the First
Amendment.”).
        By eliminating the public’s right to challenge government censorship
of public library books, our court’s holding becomes a Trojan horse for the
government speech doctrine that fails to command a majority in its own
name.14 The majority opinion elucidates no functional difference between its
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          As counsel for Defendants acknowledged during the en banc oral argument, the
majority’s “no right to receive” holding collapses into its “government speech” position,
creating a circuit split with the Eighth Circuit. See Oral Argument at 13:56–14:01,




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https://www.ca5.uscourts.gov/OralArgRecordings/23/23-50224_9-24-2024.mp3
(Attorney Jonathan Mitchell: “I think there’s no way to overrule Campbell without creating
a circuit split with the Eighth Circuit on this [government speech] question.”). And
although the primary opinion does not command a majority for converting free speech into
government speech, it nonetheless devotes twice as many pages to this project as it does to
the majority’s rejection of the well-established First Amendment “right to receive.” Yet
no court, anywhere in the country, has ever held that the government’s decision to remove
books from a public library constitutes government speech, and in fact this position has
been firmly rejected by the Eighth Circuit. See GLBT Youth in Iowa Schs. Task Force v.
Reynolds, 114 F.4th 660, 667–68 (8th Cir. 2024). It is therefore unsurprising that this
position is not openly embraced by a majority of this court; nor is it surprising that
Defendants themselves declined to make this argument at the panel stage, thus waiving the
issue despite the primary opinion’s assertions to the contrary. See Lucio v. Lumpkin, 987
F.3d 451, 478 (5th Cir. 2021) (en banc) (“The maxim is well established in this circuit that
a party who fails to make an argument before either the district court or the original panel
waives it for purposes of en banc consideration.” (emphasis added) (quoting Miller v. Tex.
Tech Univ. Health Scis. Ctr., 421 F.3d 342, 349 (5th Cir. 2005) (en banc))).
         This attempted First Amendment collapse—supplanting free speech with
government speech—contradicts multiple Supreme Court decisions. See Matal v. Tam,
582 U.S. 218, 236–37 (2017); Shurtleff v. City of Bos., 596 U.S. 243, 252, 257–58 (2022). In
Shurtleff, the Court explained that the government speech inquiry is a “holistic” one, and
that relevant factors include: “the history of the expression at issue”; “the public’s likely
perception as to who (the government or a private person) is speaking”; and “the extent
to which the government has actively shaped or controlled the expression.” Id. at 252. As
explained by the Eighth Circuit, none of these factors supports a conclusion that library
book removals constitute government speech. See Reynolds, 114 F.4th at 667–68. Across
multiple “government speech” cases, Justice Alito has emphasized the narrowness of the
government speech doctrine and the extreme care with which courts must apply it. See,
e.g., Matal, 582 U.S. at 235 (emphasizing that the Supreme Court “exercise[s] great caution
before extending [its] government-speech precedents” and warning that the government
speech doctrine “is susceptible to dangerous misuse”); Pleasant Grove City v. Summum,
555 U.S. 460, 473 (2009) (describing as “legitimate” the “concern that the government
speech doctrine not be used as a subterfuge for favoring certain private speakers over others
based on viewpoint”); Shurtleff, 596 U.S. at 262 (Alito, J., joined by Thomas and Gorsuch,
JJ., concurring in the judgment) (writing separately to articulate his view of “the real
question in government-speech cases: whether the government is speaking instead of
regulating private expression” (emphasis in original)); id. at 263–64 (admonishing that the
government speech doctrine may be “used as a cover for censorship,” and that
“[c]ensorship is not made constitutional by aggressive and direct application”); id. at 267
(“[G]overnment speech occurs if—but only if—a government purposefully expresses a
message of its own through persons authorized to speak on its behalf, and in doing so, does




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holding that the public has no First Amendment right to challenge the
government’s removal of public library books, no matter the reason, and its
ostensible plurality holding that the government may “speak” by removing
library books for any reason, without First Amendment restraint. Turning
freedom of speech into government speech is more than a sleight of hand. It
results from the majority ignoring preliminary facts found by a district court
and repudiating half-century-old Supreme Court authority.
        Having done so, the majority grounds its holding that library patrons
“cannot invoke the right to receive information to challenge” book removals
as a matter of law on a faulty premise: that the “First Amendment does not
give you the right to demand” that the government “keep” particular books
in the library. Ante, at 18. This construction grossly misapprehends the right
identified in Pico and Campbell and the right asserted by Plaintiffs here. It is
not an affirmative right to demand access to particular materials. Rather,
consistent with the First Amendment’s text and longstanding Supreme
Court doctrine, Plaintiffs assert a negative right against government
censorship that is targeted at denying them access to disfavored, even
outcast, information and ideas.
        The First Amendment does not require Llano County either to buy
and shelve They Called Themselves the K.K.K., or to keep They Called
Themselves the K.K.K. in its collection in perpetuity; but it does prohibit Llano
County from removing They Called Themselves the K.K.K., or books with
similar ideas and information, because it seeks to “prescribe what shall be
orthodox in politics, nationalism, religion, or other matters of opinion.” See

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not rely on a means that abridges private speech”); id. at 268–69 (“Naked censorship of a
speaker based on viewpoint, for example, might well constitute ‘expression’ in the thin
sense that it conveys the government’s disapproval of the speaker’s message. But plainly
that kind of action cannot fall beyond the reach of the First Amendment.”).




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Barnette, 319 U.S. at 642. As Plaintiffs put it, the Pico–Campbell standard
“regulates the way in which books are removed, not which books a library
shelves.” It is for this reason that the government’s substantial motivation
for removing books is the critical inquiry, as recognized by the high Court in
Pico.
        Because the majority purports to rely heavily on the dissents and
Justice Blackmun’s concurrence in Pico to support its renunciation of First
Amendment right-to-receive caselaw, it is valuable to explicate how the
majority misreads each of these opinions.
        First, Justice Blackman, who concurred in all but one section of the
plurality opinion and wrote separately only to explain his “somewhat
different perspective on the nature of the First Amendment right involved,”
Pico, 457 U.S. at 876 (Blackmun, J., concurring in part and concurring in the
judgment), made clear that he viewed the First Amendment right in terms of
the government’s obligation to “not act to deny access to an idea simply
because state officials disapprove of that idea for partisan or political
reasons.” Id. at 879. He declined to reach the “right to receive” question
insofar as it could be taken to imply an “affirmative obligation to provide
students with information or ideas.” Id. at 878 (emphasis added). In other
words, though he traveled a different analytical road, Justice Blackmun joined
the plurality’s substantive conclusion that the government “rightly
possess[es] significant discretion to determine the content of [its] school
libraries. But that discretion may not be exercised in a narrowly partisan or
political manner.” Id. at 870 (Brennan, J., joined by Marshall, Stevens, and
Blackmun, JJ.). Justice Blackmun thus agreed with the rest of the plurality—
and with Justice White—that the government’s motivation for removing
books from even a school library was critical to the First Amendment inquiry:




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       In my view, we strike a proper balance here by holding that
       school officials may not remove books for the purpose of
       restricting access to the political ideas or social perspectives
       discussed in them, when that action is motivated simply by the
       officials’ disapproval of the ideas involved. It does not seem
       radical to suggest that state action calculated to suppress novel
       ideas or concepts is fundamentally antithetical to the values of
       the First Amendment.
Id. at 879–80 (Blackmun, J., concurring in part and concurring in the
judgment).
       The majority’s reliance on the dissents in Pico is just as confounding
because the dissenting Justices’ rejection of the plurality’s “right to receive
information” focused explicitly on their view that students do not enjoy such
a right in the school context because of schools’ inculcative function. See id.at
893 (Burger, C.J., dissenting) (“[T]he plurality concludes that the
Constitution requires school boards to justify to its teenage pupils the decision
to remove a particular book from a school library. I categorically reject this
notion that the Constitution dictates that judges, rather than parents,
teachers, and local school boards, must determine how the standards of
morality and vulgarity are to be treated in the classroom.”); id. (Powell, J.,
dissenting) (“The plurality opinion today rejects a basic concept of public
school education in our country: that the States and locally elected school
boards should have the responsibility for determining the educational policy
of the public schools.”); id. at 911 (Rehnquist, J., dissenting) (“It is true that
the Court has recognized a limited version of th[e] right [of access to
information] in other settings . . . . But not one of these cases concerned or
even purported to discuss elementary or secondary educational
institutions.”); id. at 914 (“The idea that such students have a right of access,
in the school, to information other than that thought by their educators to be
necessary is contrary to the very nature of an inculcative education.”); id. at




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921 (O’Connor, J., dissenting) (“If the school board can set the curriculum,
select teachers, and determine initially what books to purchase for the school
library, it surely can decide which books to discontinue or remove from the
school library so long as it does not also interfere with the right of students to
read the material and to discuss it.”); see also Kreimer, 958 F.2d at 1254–55
(“The dissenters in Pico made no contention that the First Amendment did
not encompass the right to receive information and ideas, but merely argued
that the students could not freely exercise this right in the public school
setting in light of the countervailing duties of the School Board.”).
       The dissenting Justices in Pico explicitly, repeatedly distinguished
school libraries from public libraries, arguing that it was not impermissibly
restrictive to deny students the right to receive information in the school library
context because the books would remain available in public libraries. See id.
at 886 (Burger, C.J., dissenting) (“Here, however, no restraints of any kind
are placed on the students. They are free to read the books in question, which
are available at public libraries and bookstores; they are free to discuss them
in the classroom or elsewhere.”); id. at 913 (Rehnquist, J., dissenting) (“Our
past decisions are thus unlike this case where the removed books are readily
available to students and non-students alike at the corner bookstore or the
public library.”); id. at 914–15 (“Justice Brennan turns to language [in
decisions] about public libraries . . . and to language about universities and
colleges . . . . Unlike university or public libraries, elementary and secondary
school libraries are not designed for freewheeling inquiry; they are tailored,
as the public school curriculum is tailored, to the teaching of basic skills and
ideas.”); see also id. at 881 (Blackmun, J., concurring in part and concurring
in the judgment) (“[S]urely difficult constitutional problems would arise if a
State chose to exclude ‘anti-American’ books from its public libraries—even
if those books remained available at local bookstores.”).




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        Justice Rehnquist’s analysis directly juxtaposed the “role of
government as educator . . . with the role of government as sovereign.” Id.
at 909 (Rehnquist, J., dissenting). “When it acts as an educator, at least at
the elementary and secondary school level,” Justice Rehnquist explained,
“the government is engaged in inculcating social values and knowledge in
relatively impressionable young people.” Id. Justice Rehnquist underscored
that the government-as-educator role was limited in scope and did not extend
to the shelves of the public library:
        The government as educator does not seek to reach beyond the
        confines of the school. Indeed, following the removal from the
        school library of the books at issue in this case, the local public
        library put all nine books on display for public inspection.
Id. at 915. Justice Blackmun highlighted this point in his concurrence:
        [W]hile it is not clear to me from Justice Rehnquist’s
        discussion whether a State operates its public libraries in its
        “role as sovereign,” surely difficult constitutional problems
        would arise if a State chose to exclude “anti-American” books
        from its public libraries—even if those books remained
        available at local bookstores.
Id. at 881 (Blackmun, J., concurring in part and concurring in the judgment).
        Here, importantly, the library at issue is a public library, not a school
library. Yet the majority fails even to acknowledge the distinction which the
dissenting Justices in Pico took great care to emphasize.15


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        15
          Notably, at the panel stage in the instant case, the dissent distinguished between
school and public libraries but, misreading Campbell, urged the opposite conclusion from
that reached by the dissenters in Pico, namely that students enjoy more First Amendment
protection in the school library context than the general public enjoys in the public library
context:




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        The underlying premise—that a student’s First Amendment interests
while at school must be balanced with the school’s critical inculcating
function—appears often in the Supreme Court’s First Amendment
jurisprudence in the school context, including in every opinion in Pico. See,
e.g., Pico, 457 U.S. at 864 (plurality opinion); id. at 876–77 (Blackmun, J.,
concurring in part and concurring in the judgment); id. at 883 (White, J.,
concurring in the judgment); id. at 889 (Burger, C.J., dissenting); id. at 896
(Powell, J., dissenting); id. at 913–14 (Rehnquist, J., dissenting); id. at 921
(O’Connor, J., dissenting); see also Barnette, 319 U.S. at 637 (describing
“Boards of Education” as “hav[ing], of course, important, delicate, and
highly discretionary functions, but none that they may not perform within the
limits of the Bill of Rights.”); Tinker v. Des Moines Indep. Cmty. Sch. Dist.,
393 U.S. 503, 507 (1969) (“Our problem lies in the area where students in the
exercise of First Amendment rights collide with the rules of the school
authorities.”). In contrast, Defendants point to no case law identifying an

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        Campbell addressed the “unique role of the school library.” It therefore
        had to balance “public school officials[’] . . . broad discretion in the
        management of school affairs” against “students’ First Amendment
        rights.” . . . Campbell’s competing considerations are absent here. A
        county library does not implicate the “unique” First Amendment
        concerns at play in a public school. . . . So, there is no basis for transplanting
        Campbell into the realm of public libraries.
Little, 103 F.4th at 1170 (dissent) (citation omitted) (quoting Campbell, 64 F.3d at 187–88).
But Campbell (following Pico) highlighted the “unique” nature of the school library to
explain how students enjoy greater First Amendment freedoms in the school library than
they do in the classroom. Campbell, 64 F.3d at 188 (quoting Pico, 457 U.S. at 869). Neither
Campbell nor the Pico plurality opinion quoted therein suggest that students enjoy more
First Amendment protections in school libraries as compared to public libraries. On the
contrary, both opinions acknowledge the government’s unique interest in the school
context but focus on the difference between a school library, where students may engage in
free inquiry “no less than any other public library,” Pico, 457 U.S. at 868, and a school
classroom, where they must follow an established curriculum. See id. at 869; Campbell, 64
F.3d at 188.




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inculcative interest with which the First Amendment rights of a public library
patron must be reconciled.
        As a public library, rather than a school library, the Llano County
library system serves patrons of all ages. Today, a majority of our court
sanctions government censorship in every section of every public library in
our circuit. As counsel for Defendants acknowledged in oral argument, there
is nothing to stop government officials from removing from a public library
every book referencing women’s suffrage, our country’s civil rights
triumphs, the benefits of firearms ownership, the dangers of communism, or,
indeed, the protections of the First Amendment.16
                                            D
        The majority—apparently “amuse[d]” by expressions of concern
regarding government censorship—disparages such concerns as “over-
caffeinated” because, if a library patron cannot find a particular book in their
local public library, they can simply buy it. Ante, at 4.
        This response is both disturbingly flippant and legally unsound.
        First, as should be obvious, libraries provide critical access to books
and other materials for many Americans who cannot afford to buy every book

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        16
           When asked during the en banc oral argument about his “limiting principle” and
specifically whether a public library could, for example, remove all books about hunting
because they contain harmful violence, counsel for Defendants replied:
        I believe they could under the Speech Clause. I would not support that as
        a matter of policy, and I would hope there would be political constraints in
        place that would deter them from doing that sort of a thing.
Oral Argument at 9:48–10:13. This reliance on “political constraints” lays bare the
disconnect between our court’s holding today and the counter-majoritarian promise of the
First Amendment. See Barnette, 319 U.S. at 638 (“The very purpose of a Bill of Rights was
to withdraw certain subjects from the vicissitudes of political controversy . . . .”).




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that draws their interest,17 and recent history demonstrates that public
libraries easily become the sites of frightful government censorship.18
        More significantly, the flippancy mischaracterizes the text and
promise of the First Amendment. The First Amendment question presented
by Plaintiffs’ allegations—as in both Pico and Campbell—is not whether a
library has an affirmative obligation to add a particular book to its collection
whenever a patron wants it.               Plaintiffs “have not sought to compel
[Defendants] to add to the [public] library shelves any books that [patrons]
desire to read.” Pico, 457 U.S. at 862. That is a red herring dragged
throughout the majority opinion.19

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        17
            See Sonia Sotomayor, My Beloved World 47–48 (2016) (“The Parkchester Library
was my haven. . . . My mother had subscribed to Highlights for Junior and me, and Reader’s
Digest for herself, but by now I was reading whole issues of the Digest myself, cover to
cover. . . . Sometimes when a story caught my imagination, I would search the library for
the original book—I understood that these were excerpts or abridgments—but I never had
any luck, and that mystified me. Now I realize that a tiny public library in a poor
neighborhood would be unlikely to receive new releases.”).
        18
           See, e.g., James Conaway, Judge: The Life and Times of Leander Perez 112–13
(1973) (District Attorney and former judge Leander Perez “spent the months before the
desegregation deadline in Baton Rouge, after ordering the closing to blacks of library
services in Plaquemines [Parish] and the removal of all books mentioning the United
Nations (supposedly a nest of ‘Zionists’) or published by UNESCO, ‘showing a liberal
viewpoint,’ or speaking favorably of the Negro race. ‘Wipe that filth from the shelves,’ he
commanded.”).
        19
          Regardless, book acquisitions demand different considerations than book
removals. As Justice Blackmun remarked in Pico:
        [T]here is a profound practical and evidentiary distinction between the
        two actions: “removal, more than failure to acquire, is likely to suggest that
        an impermissible political motivation may be present. There are many
        reasons why a book is not acquired, the most obvious being limited
        resources, but there are few legitimate reasons why a book, once acquired,
        should be removed from a library not filled to capacity.”
Pico, 457 U.S. at 878 n.1 (Blackmun, J., concurring in part and concurring in the judgment)
(quoting Pico v. Bd. of Educ., 638 F.2d 404, 436 (2d Cir. 1980) (Newman, J., concurring in




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        The relevant question is a more sobering one, implicating the very text
of the First Amendment’s protection against the abridgment of free speech:
whether government officials may restrict—abridge—the spectrum of ideas
available to the public by culling books from public library shelves, simply
because those officials find the books’ ideas inappropriate, offensive, or
otherwise undesirable. The answer is: “No.” See U.S. Const. amend. I
(“[The government] shall make no law . . . abridging the freedom of
speech . . . .”); Pico, 457 U.S. at 877 (Blackmun, J., concurring in part and
concurring in the judgment) (concluding that the Court’s prior decisions
concerning students’ First Amendment rights “yield a general principle: the
State may not suppress exposure to ideas—for the sole purpose of suppressing
exposure to those ideas—absent sufficiently compelling reasons”);
Campbell, 64 F.3d at 188 (incorporating the Pico plurality’s recognition that
“school officials are prohibited from exercising their discretion to remove
books from school library shelves simply because they dislike the ideas
contained in those books and seek by their removal to prescribe what shall be
orthodox in politics, nationalism, religion, or other matters of opinion”
(cleaned up)). The government may not order books removed from public
libraries out of hostility to disfavored ideas and information.
        Let me finish with the practical reminder that the Supreme Court’s
near-half-century-old Pico test, applied by us in Campbell, has proven sensible
and durable, causing neither confusion nor excessive federal court intrusion.
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the result)). Justice Souter offered similar sentiments in another case: “Quite simply, we
can smell a rat . . . when a library removes books from its shelves for reasons having nothing
to do with wear and tear, obsolescence, or lack of demand. . . . The difference between
choices to keep out and choices to throw out is [] enormous, a perception that underlay the
good sense of the plurality’s conclusion in [Pico].” United States v. Am. Library Ass’n, 539
U.S. 194, 241–42 (2003) (Souter, J. dissenting). And the two situations are distinct: book
removal necessarily follows book acquisition, such that any book that is removed has passed
the library’s initial purchase assessment and expenditure.




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The Pico rationale—which applies with even greater force in the public
library context—contains ample flexibility for public libraries to continue to
make collection management decisions based on any number of preexisting
and standardized constitutional considerations, including accuracy,
currentness, and physical condition.       Public libraries importantly serve
patrons of all ages, and they have broad latitude to provide safe spaces for
parents to encourage a love of learning in their children, while respecting
each parent’s prerogative to guide their own child’s public library reading
and, at the same time, without encroaching on every other patron’s First
Amendment rights.      To repeat what is fundamental, Director Milum
confirmed that “no parent has the authority in a library system to control
what somebody else’s children read.”
       Indeed, public libraries of course are free to organize their books in a
manner that ensures patrons are directed to age-appropriate materials.
Many, if not all, public libraries already do this by maintaining distinct
sections for children and for young adults, while the remainder of the library
is geared toward adults. Furthermore, the New Orleans Public Library, for
example, provides parents and guardians with additional oversight by
allowing them to adjust check-out permissions for their children. See La. Rev.
Stat. § 25:225 (2023). Parents can and should review what their children read
and make decisions regarding what public library materials are appropriate
for their children. But that is each parent’s prerogative for their own
children. These decisions cannot be dictated by government officials, any
more than they can be dictated by other parents, based on their own distaste
for ideas they deem “inappropriate.” Certainly, government officials cannot
constitutionally dictate what ideas are “inappropriate” or “offensive” for
adult library patrons. Yet this is precisely the government censorship that
our court approves today.




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       In sum, I would continue to respect the Supreme Court’s judgment in
Pico, as we have for thirty years since Campbell, and would hold that the
district court here did not clearly err in finding that Defendants’ substantial
purpose likely was to suppress information and ideas deemed inappropriate
or offensive. Thus far, the pre-trial evidence in the record overwhelmingly
supports the district court’s preliminary conclusion that Director Milum,
Judge Cunningham, and Commissioner Moss adopted the motivation of
Wallace, Wells, Schneider, and Baskin (who thereafter joined the
reconstituted and exclusionary Library Advisory Board), and therefore, that
all Defendants were likely motivated by a desire to suppress fellow citizens’
access to the ideas contained in the seventeen books at issue.20
Consequently, applying the Pico–Campbell standard, we should neither
confirm nor nullify a First Amendment violation, but rather entrust our
district judge colleague to resolve facts at trial, informing us all, and especially
the citizens and officials of Llano County.
       More broadly, the logic of the Supreme Court’s school library
decision in Pico—that the government may not remove library books with the
purpose of denying access to disfavored ideas—applies with even greater
force to public libraries, where the government has no inculcating role over
its sovereign, the people. The First Amendment, with the high Court as its
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       20
          Supporting evidence, described above, includes: documents demonstrating the
close temporal connection between the group’s political demands, Judge Cunningham’s
and Commissioner Moss’s active involvement, and Director Milum’s ultimate removal of
books; testimony from Director Milum that she had not read any of the books that she
removed directly after receiving Wallace’s list; and extensive and untraversed testimony
from Head Librarian Castelan that Director Milum’s removal of books was not consistent
with existing library policies, which “has the appearance of ‘the antithesis of those
procedures that might tend to allay suspicions regarding [Defendants’] motivations.’”
Campbell, 64 F.3d at 190–91 (quoting Pico, 457 U.S. at 875).




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sentinel,21 protects the right of the people to be informed because, as the
Framers knew, only an informed and engaged people can sustain self-
governance. See Letter from Thomas Jefferson to Richard Price (Jan. 8,
1789), https://www.loc.gov/exhibits/jefferson/60.html.                   Public libraries
represent the best of that simple but lofty goal. As spaces “designed for
freewheeling inquiry,” Pico, 457 U.S. at 915 (Rehnquist, J., dissenting), they
democratize access to a broad range of often-contradictory ideas and provide
fertile ground for our minds to grow.22 More than anything, public libraries
offer every one of us the tools to educate and entertain ourselves, to embrace
or reject new ideas, and, above all, to engage and challenge our minds.
        As I began this opinion with the words of one President, I will close
with the words of another. In 1953, when our country was in the throes of




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        21
          See Akhil Reed Amar, The First Amendment’s Firstness, 47 U.C. Davis L. Rev.
1015, 1028 (2014) (“Never in history have First Amendment freedoms been protected as
vigorously by the Court, and no other set of freedoms today is protected more
vigorously.”).
        22
           See, e.g., Clarence Thomas, My Grandfather’s Son 17 (2007) (“I spent countless
hours [at the Carnegie Library] immersed in the seafaring adventures of Captain Horatio
Hornblower, the gridiron exploits of Crazy Legs McBain, and the real-life triumphs of Bob
Hayes, the world’s fastest man; I also read about the civil-rights movement, of which I still
knew next to nothing. I was never prouder than when I got my first library card, though the
day when I’d checked out enough books to fill it up came close.”); Sonia Sotomayor, My
Beloved World 47 (2016) (“My solace and only distraction that summer was reading. I
discovered the pleasure of chapter books and devoured a big stack of them. The
Parkchester Library was my haven. To thumb through the card catalog was to touch an
infinite bounty, more books than I could ever possibly exhaust. My choices were more or
less random.”); Ketanji Brown Jackson, Lovely One 37–38 (2024) (describing participation
in “Library Week performances,” during which her class “act[ed] out passages from books
[they] had read together,” as well as performances of The Wizard of Oz and Charlotte’s
Web, two books that reportedly have been subject to book removals).




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McCarthyism, President Eisenhower addressed Dartmouth College’s
graduating class:
       Look at your country. Here is a country of which we are proud
       . . . . But this country is a long way from perfection—a long
       way. We have the disgrace of racial discrimination, or we have
       prejudice against people because of their religion. We have
       crime on the docks. We have not had the courage to uproot
       these things, although we know they are wrong. . . .
       Don’t join the book burners. Don’t think you are going to
       conceal faults by concealing evidence that they ever existed.
       Don’t be afraid to go in your library and read every book, as
       long as that document does not offend our own ideas of
       decency. . . .
       How will we defeat communism unless we know what it is, and
       what it teaches, and why does it have such an appeal for men,
       why are so many people swearing allegiance to it? . . .
       [W]e have got to fight it with something better, not try to
       conceal the thinking of our own people. They are part of
       America. And even if they think ideas that are contrary to ours,
       their right to say them, their right to record them, and their
       right to have them at places where they are accessible to others
       is unquestioned, or it isn’t America.
Dwight D. Eisenhower, Remarks at the Dartmouth College Commencement
Exercises      (June      14,     1953)        (transcript    available    at
https://www.presidency.ucsb.edu/documents/remarks-the-dartmouth-
college-commencement-exercises-hanover-new-hampshire).




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        Because I would not have our court “join the book burners,”23 I
dissent.




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        23
            See Dwight D. Eisenhower, The President’s News Conference (June 17, 1953)
(transcript available at https://www.presidency.ucsb.edu/documents/the-presidents-
news-conference-488) (“I am against ‘book burning’ of course—which is, as you well
know, an expression to mean suppression of ideas. I just do not believe in suppressing ideas.
I believe in dragging them out in the open and taking a look at them.”).




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